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                      ATTACHMENT A
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                           Commonwealth Compliance Contentions and Actions to Achieve Full Compliance
#    Provision       Provision text                          Actions to Achieve Compliance
 1     III.C.2.a-f   The Commonwealth shall create an        The Commonwealth has supported the number of individuals required by the
                     Individual and Family Support           Settlement Agreement each year through its Individual and Family Support
                     Program (IFSP) for individuals with     Program (“IFSP”). The finding of noncompliance relates to the IFSP not
                     ID/DD whom the Commonwealth             meeting the definition in Section II.D of being a “comprehensive and
                     determines to be the most at risk of    coordinated set of strategies.” The Commonwealth has taken steps to address
                     institutionalization.                   this deficiency. As noted by the Independent Reviewer in his December 2018
                                                             report, the Commonwealth has completed a strategic plan that outlines a path to
                     … In the State Fiscal Year 2018, a      compliance.
                     minimum of 1000 individuals will
                     be supported.                           The Commonwealth asserts that it will achieve compliance with this provision
                                                             of the Settlement Agreement when:
                     (II.D: Individual and family
                     supports are defined as a               1. The Individual and Family Support Program State Plan for Increasing
                     comprehensive and coordinated set       Support for Virginians with Developmental Disabilities (IFSP State Plan)
                     of strategies that are designed to      developed by the IFSP State Council is implemented and includes all
                     ensure that families who are            components that will lead to a comprehensive and coordinated set of strategies.
                     assisting family members with
                     intellectual or developmental           2. The IFSP State Plan includes criteria for determining applicants most at risk
                     disabilities (“ID/DD”) or individuals   for institutionalization.
                     with ID/DD who live independently
                     have access to person-centered and      3. The IFSP State Plan includes a set of measurable program outcomes. An
                     family-centered resources, supports,    annual report is produced reviewing progress towards the outcomes.
                     services and other assistance.
                     Individual and family supports are      4. Upon being placed on the waiver waitlist, individuals are informed of their
                     targeted to individuals not already     eligibility for IFSP funding and are informed annually thereafter.
                     receiving services under HCBS
                     waivers, as defined in Section II.C     5. IFSP-funding availability announcements are provided to all individuals on
                     above. The family supports              the waiver waitlist.
                     provided under this Agreement shall
                     not supplant or in any way limit the    6. Eligibility guidelines for IFSP programs and other supports and services
                     availability of services provided       such as case management for individuals on the waiver waitlist are published on
                     through the Elderly or Disabled with    the My Life, My Community website.
                     Consumer Direction (“EDCD”)
                                                                                                                                          1
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                         waiver, Early and Periodic             7. Documentation continues to indicate that a minimum of 1,000 individuals
                         Screening, Diagnosis and Treatment     and/or their families are supported through the IFSP.
                         (“EPSDT”), or similar programs.)

    2     III.C.5.b.i.   Assembling professionals and           The Commonwealth will achieve compliance with this provision and other
                         nonprofessionals who provide           provisions of the Settlement Agreement related to case management when:
                         individualized supports, as well as
                         the individual being served and        1. The Department of Behavioral Health and Developmental Services
                         other persons important to the         (“DBHDS”) performs a quality review of case management services through
                         individual being served, who,          Community Services Board (“CSB”) case management supervisors/quality
                         through their combined expertise       improvement specialists, who conduct a Case Management Quality Review that
                         and involvement, develop Individual    reviews the bulleted elements listed below. DBHDS pulls an annual statistically
                         Support Plans (“ISP”) that are         significant stratified statewide sample of individuals receiving DD waiver
                         individualized, person-centered, and   services that ensures record reviews of individuals at each CSB. Each quarter,
                         meet the individual’s needs.           the CSB case management supervisor and/or quality improvement specialist
                                                                completes the number of Case Management Quality Reviews as determined by
                                                                DBHDS by reviewing the records of individuals in the sample. The data
                                                                captured by the Case Management Quality Reviews is provided to DBHDS
                                                                quarterly through a secure software portal that enables analysis of the data in the
                                                                aggregate. DBHDS analysis of the data submitted allows for review on a
                                                                statewide and individual CSB level. The Case Management Quality Reviews
                                                                include review of whether the following elements are met:
                                                                a. The CSB has offered each person the choice of case manager.
                                                                b. Risk has been assessed and risk mitigation plans are in place.
                                                                c. Whether the person’s needs for services and supports have changed and the
                                                                Individualized Services Plan (“ISP”) has been modified as needed.
                                                                d. The person’s ISP addresses all risks, identified needs and preferences.
                                                                e. The ISP includes specific and measurable outcomes, including evidence that
                                                                employment goals have been discussed.
                                                                f. The ISP was developed with professionals and nonprofessionals who provide
                                                                individualized supports, as well as the individual being served and other persons
                                                                important to the individual being served.
                                                                g. The ISP includes the necessary services and supports to achieve the outcomes
                                                                such as medical, social, education, transportation, housing, nutritional,
                                                                therapeutic, behavioral, psychiatric, nursing, personal care, respite, and other
                                                                                                                                              2
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                                                                  services necessary.
                                                                  h. Individuals have been offered choice of providers for each service.
                                                                  i. The ISP is implemented and is meeting the person’s health and safety needs
                                                                  and integration preferences.
                                                                  j. The CSB has in place and the case manager has utilized where necessary a
                                                                  problem resolution process including, but not limited to, reconvening the
                                                                  planning team as necessary to meet individuals’ needs.

                                                                  2. The Case Management Steering Committee analyzes the Case Management
                                                                  Quality Review data submitted to DBHDS that reports on CSB case
                                                                  management performance each quarter. 86% of the records reviewed across the
                                                                  state will be in compliance with a minimum of nine of the elements assessed in
                                                                  the review.

                                                                  3. Any individual CSB that has 2 or more records that do not meet 86%
                                                                  compliance with Case Management Quality Review for two consecutive quarters
                                                                  receives additional technical assistance provided by DBHDS. If, after receiving
                                                                  technical assistance, a CSB does not demonstrate improvement, the Case
                                                                  Management Steering Committee will make recommendations to the
                                                                  Commissioner for enforcement actions pursuant to the CSB Performance
                                                                  Contract.

                                                                  4. DBHDS, through the Case Management Steering Committee, provides the
                                                                  CSBs their case management performance data semi-annually at a minimum.

    3     III.C.5.b.ii   Assisting the individual to gain         The actions to achieve compliance listed in Section III.C.5.b.i will also achieve
                         access to needed medical, social,        compliance with this provision of the Settlement Agreement.
                         education, transportation, housing,
                         nutritional, therapeutic, behavioral,
                         psychiatric, nursing, personal care,
                         respite, and other services identified
                         in the ISP.

    4    III.C.5.b.iii   Monitoring the ISP to make timely        The actions to achieve compliance listed in Section III.C.5.b.i will also achieve
                         additional referrals, service changes,   compliance with this provision of the Settlement Agreement.
                                                                                                                                                3
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                       and amendments to the plans as
                       needed.
    5      III.C.5.c   Case management shall be provided       The Commonwealth believes that it is compliant with this provision. Case
                       to all individuals receiving HCBS       management is provided by case managers who are not directly providing
                       waiver services under this              services to the individuals or supervising the provision of services. Virginia
                       Agreement by case managers who          Informed Choice forms document that individuals have been offered a choice of
                       are not directly providing such         case managers. The CSB Performance Contract requires CSBs to complete
                       services to the individual or           these forms. See Section 4.e.6 of the CSB Performance Contract found at
                       supervising the provision of such       http://www.dbhds.virginia.gov/assets/doc/BH/oss/19-pc-contract-june-8-
                       services. The Commonwealth shall        2018.pdf.
                       include a provision in the
                       Community Services Board                A provision was added to the CSB Performance Contract that requires CSB case
                       (“CSB”) Performance Contract that       managers to give individuals a choice of service providers from which the
                       requires CSB case managers to give      individual may receive approved waiver services and to present practicable
                       individuals a choice of service         options of service providers based on the preferences of the individual. See
                       providers from which the individual     Section 4.e of the CSB Performance Contract found at
                       may receive approved waiver             http://www.dbhds.virginia.gov/assets/doc/BH/oss/19-pc-contract-june-8-
                       services and to present practicable     2018.pdf. The Rules and Regulations for Licensing Providers by the
                       options of service providers based      Department of Behavioral Health and Developmental Services (“Licensing
                       on the preferences of the individual,   Regulations”) also address case manager choice. See 12 VAC 35-105-1255
                       including both CSB and non-CSB          found at
                       providers.                              https://law.lis.virginia.gov/admincode/title12/agency35/chapter105/section1255/.

                                                               Despite the Commonwealth’s assertion of compliance, if measure is needed for
                                                               this provision of the Settlement Agreement, the Commonwealth recommends the
                                                               following:

                                                               86% or more of case management records reviewed demonstrate via the
                                                               Virginia Informed Choice forms that choice of case manager is being offered to
                                                               individuals.

    6     III.C.5.d    The Commonwealth shall establish a      The Commonwealth believes it is compliant with this provision. The newly
                       mechanism to monitor compliance         amended Licensing Regulations align with the Agreement’s requirements for
                       with [case management]                  case management and provide the mechanism to monitor compliance with
                       performance standards.                  performance standards through the Office of Licensing’s inspection and
                                                                                                                                          4
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                                               enforcement authority. See 12 VAC 35-105-150, 170, 1245, and 1250 found at
                                               http://register.dls.virginia.gov/details.aspx?id=6997, and 12 VAC35-105-1240
                                               found at
                                               https://law.lis.virginia.gov/admincode/title12/agency35/chapter105/section1240/.

                                               The DBHDS Office of Licensing reviews every provider service at least
                                               annually, including CSBs, and monitors CSBs’ compliance with the case
                                               management standards.

                                               In addition to the mechanism established through the Licensing Regulations, the
                                               Commonwealth is implementing processes similar to those included in DOJ’s
                                               indicators for this provision as a matter of best practice. The Commonwealth
                                               does not believe that these processes should be imposed as a requirement for
                                               this provision because these processes go beyond the requirements of this
                                               provision. Under these additional processes, the Case Management Steering
                                               Committee will also be monitoring compliance with case management
                                               performance standards. The Case Management Steering Committee will review
                                               and analyze the Case Management Quality Review data submitted to DBHDS
                                               and produce a semi-annual report to the DBHDS Quality Improvement
                                               Committee on the findings from the data review with recommendations for
                                               system improvement. The Case Management Steering Committee’s report will
                                               include an analysis of findings and recommendations based on review of the
                                               information from case management monitoring/oversight processes including:
                                               data from the oversight of the DBHDS Office of Licensing, Department of
                                               Medical Assistance Services (“DMAS”) Quality Management Reviews, CSB
                                               Case Management Supervisors Quarterly Reviews, DBHDS Quality
                                               Management Division quality improvement review processes including the
                                               Supervisory retrospective review, Quality Service Reviews, and CSB
                                               Performance Contract Indicator data. The Case Management Steering
                                               Committee will also make recommendations to the Commissioner for
                                               enforcement actions pursuant to the CSB Performance Contract based on
                                               negative findings.

                                               Members of the DBHDS Central Office Quality Improvement Division will
                                               conduct annual retrospective reviews to validate the findings of the CSB case
                                                                                                                           5
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                                                                management supervisory reviews and to provide technical assistance to the case
                                                                managers and supervisors for any needed improvements. A random sub-sample
                                                                of the original sample will be drawn each year for this retrospective review. The
                                                                sample is stratified so that each CSB is included in the sample. The DBHDS
                                                                Central Office Quality Improvement Division’s reviewers will visit each CSB
                                                                in person and review case management records for the individuals in the sub-
                                                                sample. They will then complete an electronic form so that agreement between
                                                                the CSB Case Management Quality Review and the DBHDS Quality
                                                                Improvement Division record reviews can be measured quantitatively, in
                                                                addition to providing feedback to the CSB case management supervisors to
                                                                increase the reliability of future reviews. There is an ongoing inter-rater
                                                                reliability process for staff of the DBHDS Quality Improvement Division
                                                                conducting the retrospective reviews.

7    III.C.6.a.i-iii   The Commonwealth shall develop a         The Commonwealth has developed REACH, a statewide crisis system for
                       statewide crisis system for              individuals with intellectual and developmental disabilities that provides timely
                       individuals with intellectual and        and accessible support, provides services focused on crisis prevention and
                       developmental disabilities. The          proactive planning, and provides in-home and community-based crisis services
                       crisis system shall:                     that are directed at resolving crises and preventing the removal of the individual
                                                                from his current placement when practicable. Information on REACH services
                       i. Provide timely and accessible         can be found on the DBHDS website at: http://23.29.59.143/developmental-
                       support to individuals with              services/Crisis-services. REACH program standards are accessible at:
                       intellectual and developmental           http://23.29.59.143/assets/doc/DS/cs/reach-program-standards-7-1-18.pdf.
                       disabilities who are experiencing
                       crises, including crises due to          According to the Independent Reviewer’s December 2018 report, the
                       behavioral or psychiatric issues, and    Commonwealth will not be in compliance with this provision until it is in
                       to their families;                       compliance with all provisions in Section III.C.6 of the Settlement Agreement.
                                                                Thus, actions taken to comply with the provisions of Section III.C.6 for which
                       ii. Provide services focused on crisis   the Commonwealth has not yet achieved full compliance should result in
                       prevention and proactive planning to     compliance with this provision.
                       avoid potential crises; and

                       iii. Provide in-home and
                       community-based crisis services that
                       are directed at resolving crises and
                                                                                                                                              6
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                          preventing the removal of the
                          individual from his or her current
                          placement whenever practicable.


    8   III.C.6.b.ii.A.   Mobile crisis team members               The Commonwealth believes it is compliant with this provision of the
                          adequately trained to address the        Settlement Agreement. Mobile crisis team members are adequately trained to
                          crisis shall respond to individuals at   address crises. Mobile crisis teams respond to individuals at their homes and in
                          their homes and in other community       other community settings. In fact, mobile crisis team members will respond to
                          settings and offer timely assessment,    individuals where they are located at the time they are called. Findings of non-
                          services, support, and treatment to      compliance by the Independent Reviewer seem to be based on data that shows
                          de-escalate crises without removing      some assessments by mobile crisis team members are occurring at CSB offices
                          individuals from their current           and psychiatric hospitals. The Commonwealth has previously agreed to identify
                          placement whenever possible.             trends in crisis data and develop initiatives to decrease the number of
                                                                   assessments occurring at these locations. But this provision of the agreement
                                                                   does not require mobile crisis assessment be conducted solely at individuals’
                                                                   homes. The mobile crisis teams do not have control of where an individual may
                                                                   be taken prior to their notification of the need for an assessment.

                                                                   Despite the Commonwealth’s assertion of compliance, if measures are needed to
                                                                   confirm compliance with this provision of the Settlement Agreement, the
                                                                   Commonwealth recommends the following:

                                                                   1. At least 86% of REACH staff meet REACH training requirements.

                                                                   2. At least 86% of individuals assessed as needing a Crisis Education and
                                                                   Prevention Plan (“CEPP”) have such plans developed within 45 days of the date
                                                                   the need was identified.

                                                                   3. At least 86% of family members and providers providing care to an
                                                                   individual with a CEPP will receiving training in implementing the CEPP.

                                                                   4. Data show a decreasing trend in the total admissions and lengths of stay of
                                                                   individuals with developmental disabilities admitted to state-operated psychiatric
                                                                   hospitals and to the extent known by DBHDS, to private psychiatric hospitals.
                                                                                                                                                7
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                                                             In order to meet and demonstrate that these measures are met, the
                                                             Commonwealth will necessarily have to periodically assess REACH teams to
                                                             determine if they are meeting training and CEPP requirements, as well as
                                                             monitor admission and lengths of stay to state-operated psychiatric hospitals and
                                                             to the extent known by the Commonwealth, to private psychiatric hospitals.
                                                             Such actions should be left to the discretion of the Commonwealth and not
                                                             imposed as a requirement of the Settlement Agreement.



9   III.C.6.b.ii.B   Mobile crisis teams shall assist with   The Commonwealth asserts that it will achieve compliance with this provision
                     crisis planning and identifying         of the Settlement Agreement when:
                     strategies for preventing future
                     crises and may also provide             1. 86% of individuals who are known to the REACH system receive REACH
                     enhanced short-term capacity within     crisis assessment at home, their residential setting, or other community setting
                     an individual’s home or other           (non-hospital/CSB location).
                     community setting.
                                                             2. At least 95% of individuals admitted to state-operated psychiatric hospitals
                                                             and, to the extent known by DBHDS, to private psychiatric hospitals are
                                                             referred within 72 hours of admission to REACH.

                                                             In order to meet and demonstrate that these measures are met, the
                                                             Commonwealth has taken or plans to take the following actions:

                                                             3. DBHDS will add a provision to the CSB Performance Contract that requires
                                                             CSBs to identify individuals, including children, at risk of going into crisis as
                                                             early as practicable by conducting initial risk assessments in the individual’s
                                                             home or residential setting.

                                                             4. DBHDS will define the criteria that constitute “risk of going into crisis” for
                                                             use by CSBs to determine when to make requests for initial crisis risk
                                                             assessment.

                                                             5. DBHDS will provide training to all CSB Executive Directors,
                                                                                                                                            8
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#    Provision         Provision text                          Action to Achieve Compliance

                                                             Developmental Disability Directors, case management supervisors, and case
                                                             managers on how to identify individuals, including children, receiving case
                                                             management who are at risk of going into crisis.

                                                             6. DBHDS will offer training to CSB intake workers on identifying individuals,
                                                             including children, who are at risk of going into crisis and how to arrange for
                                                             crisis risk assessments to occur in the home or link them to REACH crisis
                                                             services. DBHDS will add a provision to the CSB Performance Contract
                                                             requiring training on identifying risk of crisis for case managers and CSB intake
                                                             workers within 6 months of hire.

                                                             7. DBHDS will implement an annual quality review process that measures the
                                                             performance of CSBs in identifying individuals who are at risk of crisis.

                                                             8. DBHDS will require its state-operated psychiatric hospitals to notify the
                                                             CSB serving the individual whenever there is a request for admission for an
                                                             individual with a developmental disability diagnosis. Through the morning
                                                             reporting process, the state-operated hospital Director of Community Services
                                                             or designee will notify the REACH Director or designee of admission of an
                                                             individual with a developmental disability. DBHDS will request and encourage
                                                             private psychiatric hospitals to notify the emergency services staff of the CSB
                                                             serving the individual of requests for admission and admissions of individuals
                                                             with a developmental disability diagnosis.

                                                             9. DBHDS will track admissions to state-operated psychiatric hospitals and, to
                                                             the extent known to DBHDS, to private psychiatric hospitals to determine
                                                             whether there has been a referral to REACH and will implement improvement
                                                             strategies if determined necessary by DBHDS.

                                                             The Commonwealth does not believe the actions proposed in numbers 3
                                                             through 9 above should be imposed as requirements of the Settlement
                                                             Agreement.

10   III.C.6.b.iii.B   Crisis stabilization programs shall   The Commonwealth will achieve compliance with this provision of the
                       be used as a last resort. The State   Settlement Agreement when:
                                                                                                                                         9
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#    Provision         Provision text                             Action to Achieve Compliance

                       shall ensure that, prior to
                       transferring an individual to a crisis   1. DBHDS establishes and has in operation two Crisis Therapeutic Home
                       stabilization program, the mobile        facilities for children and two transition homes for adults.
                       crisis team, in collaboration with the
                       provider, has first attempted to
                       resolve the crisis to avoid an out-of-
                       home placement and, if that is not
                       possible, has then attempted to
                       locate another community-based
                       placement that could serve as a
                       short-term placement.

11   III.C.6.b.iii.D   Crisis stabilization programs shall      The Commonwealth will achieve compliance with this provision of the
                       have no more than six beds and           Settlement Agreement when:
                       lengths of stay shall not exceed 30
                       days.                                    1. 86% of individuals receiving DD Waiver services and known to the REACH
                                                                system who are admitted to CTH facilities will have a community residence
                                                                identified within 30 days of admission.

12   III.C.6.b.iii.E   With the exception of the Pathways       The finding of noncompliance with this provision of the Settlement Agreement
                       Program at SWVTC … crisis                relates to not having sufficient capacity to meet the needs of the target
                       stabilization programs shall not be      population in the region. The actions taken to comply with Section
                       located on the grounds of the            III.C.6.b.iii.G should achieve compliance with this provision.
                       Training Centers or hospitals with
                       inpatient psychiatric beds. By July
                       1, 2015, the Pathways Program at
                       SWVTC will cease providing crisis
                       stabilization services and shall be
                       replaced by off-site crisis
                       stabilization programs with
                       sufficient capacity to meet the needs
                       of the target population in that
                       Region.

13   III.C.6.b.iii.G   By June 30, 2013, the                    The Commonwealth will achieve compliance with this provision of the
                                                                                                                                        10
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#    Provision     Provision text                            Action to Achieve Compliance

                   Commonwealth shall develop an           Settlement Agreement when:
                   additional crisis stabilization
                   program in each Region as               1. DBHDS establishes and has in operation two Crisis Therapeutic Home
                   determined necessary by the             facilities for children and two transition homes for adults.
                   Commonwealth to meet the needs of
                   the target population in that Region.   Although not required by the Settlement Agreement, as an additional strategy to
                                                           prevent institutionalization of children due to behavioral or mental health crises,
                                                           the Commonwealth plans to implement, as an element of its broader mental
                                                           health system and in addition to the crisis stabilization programs required by
                                                           this provision of the Settlement Agreement, out-of-home crisis therapeutic
                                                           prevention host-home like services for children connected to the REACH
                                                           system who are experiencing a behavioral or mental health crisis and would
                                                           benefit from this service through statewide access.


14     III.C.7.a   To the greatest extent practicable,     With the redesign of the DD Waivers, the Commonwealth now offers a full
                   the Commonwealth shall provide          array of integrated day services. The challenge for the Commonwealth has been
                   individuals in the target population    to promote the discussion of these services during individual service planning.
                   receiving services under this
                   Agreement with integrated day           The Commonwealth will achieve compliance with this provision of the
                   opportunities, including supported      Settlement Agreement when:
                   employment.
                                                           1. 86% of individuals aged 18-65 who are receiving waiver services will have a
                                                           discussion regarding employment documented as part of their ISP planning
                                                           process.

                                                           2. At least 50% of individuals aged 18-65 who are receiving waiver services
                                                           will have goals related to employment included in their annual ISP.

                                                           3. At least 86% of individuals who are receiving waiver services and have
                                                           employment services authorized in their ISP will have a provider and begin
                                                           services within 60 days.

                                                           4. At least 86% of individuals aged 14-18 who are receiving waiver services
                                                           will have goals related to skill building toward employment included in their
                                                                                                                                        11
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                                                           annual ISP.

                                                           5. At least 86% of individuals who are receiving waiver services will have a
                                                           discussion regarding the opportunity to be involved in their community through
                                                           community engagement services provided in integrated settings documented as
                                                           part of their ISP planning process.

                                                           6. At least 86% of individuals who are receiving waiver services will have
                                                           goals related to community involvement included in their annual ISP.

                                                           The plain language of this provision of the Settlement Agreement does not
                                                           require training or a quality review and improvement process so indicators
                                                           purporting to require the Commonwealth to do those things should not be
                                                           imposed. In order to meet these measures, the Commonwealth acknowledges
                                                           that it will have to provide training to case managers and perform quality
                                                           improvement reviews. The content of such training and the scope of such
                                                           reviews should be left to the Commonwealth’s discretion.

15     III.C.7.b   The Commonwealth shall maintain         The Commonwealth asserts that it is compliant with this provision of the
                   its membership in the State             Settlement Agreement. The Commonwealth maintains its membership in the
                   Employment Leadership Network           SELN.
                   (“SELN”) established by the
                   National Association of State           The Commonwealth has a state policy on Employment First, which can be
                   Developmental Disability Directors.     found at http://www.dbhds.virginia.gov/assets/document-
                   The Commonwealth shall establish a      library/archive/library/state%20board/approved%201044%20_sys_%2012-
                   state policy on Employment First for    1.pdf. The Employment First Policy is based on the three principles set forth in
                   the target population and include a     this section of the Settlement Agreement.
                   term in the CSB Performance
                   Contract requiring application of       The CSB Performance Contract contains a provision that requires application of
                   this policy. The Employment First       the Employment First Policy. See Section 4.e.9 of the FY2019 CSB
                   policy shall, at a minimum, be based    Performance Contract found at
                   on the following principles: (1)        http://www.dbhds.virginia.gov/assets/doc/BH/oss/19-pc-contract-june-8-
                   individual supported employment in      2018.pdf.
                   integrated work settings is the first
                   and priority service option for         The Commonwealth has one employment service coordinator who monitors
                                                                                                                                        12
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                    individuals with intellectual or        implementation of Employment First practices for individuals in the target
                    developmental disabilities receiving    population.
                    day program or employment
                    services from or funded by the
                    Commonwealth; (2) the goal of
                    employment services is to support
                    individuals in integrated work
                    settings where they are paid
                    minimum or competitive wages; and
                    (3) employment services and goals
                    must be developed and discussed at
                    least annually through a person-
                    centered planning process and
                    included in ISPs. The
                    Commonwealth shall have at least
                    one employment service coordinator
                    to monitor implementation of
                    Employment First practices for
                    individuals in the target population.

16      III.C.8.a   The Commonwealth shall provide          The Commonwealth asserts that it is in compliance with this provision. There
                    transportation to individuals           are no requirements pertaining to transportation contained in the HCBS
                    receiving HCBS waiver services in       Waivers. A new contract with the transportation vendor began in April 2018.
                    the target population in accordance     Although not required by the Settlement Agreement, the contract contained
                    with the Commonwealth’s HCBS            terms recommended by the Independent Reviewer’s consultant. The contract is
                    Waivers.                                monitored via weekly meetings producing monthly internal reports. There are
                                                            no systemic issues noted with the contract at this time.

17     III.C.8.b.   The Commonwealth shall publish          The Commonwealth asserts that it is compliant with this provision.
                    guidelines for families seeking
                    intellectual and developmental          The My Life, My Community website is now operational. It was developed and
                    disability services on how and          is operated by VirginiaNavigator, a non-profit organization that maintains a
                    where to apply for and obtain           family of websites to provide information about health, aging, disability, and
                    services. The guidelines will be        post-military resources available to Virginians. The site can be found at
                    updated annually and will be            http://mylifemycommunityvirginia.org/. It includes information on services and
                                                                                                                                         13
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                  provided to appropriate agencies for     how and where to apply. A link to the website is on the DBHDS website. This
                  use in directing individuals in the      website went live March 2019, and DBHDS announced and previewed it at the
                  target population to the correct point   quarterly Settlement Agreement Stakeholder meeting on March 25, 2019. By
                  of entry to access services.             the end of FY19, DBHDS will have distributed the website to other stakeholders,
                                                           the provider listserve, case management groups, and referral sources. Pursuant
                                                           to contract, VirginiaNavigator is responsible for measuring
                                                           satisfaction/usefulness of the site and keeping the site up to date.

18      III.D.1   The Commonwealth shall serve             This provision of the Settlement Agreement sets out the ultimate goal of the
                  individuals in the target population     Agreement. If the Commonwealth is compliant with the Settlement Agreement
                  in the most integrated setting           as a whole, it should result in compliance with this provision. The
                  consistent with their informed           Commonwealth proposes the following measures to demonstrate compliance
                  choice and needs.                        with this provision:

                  (III.B.2: The Commonwealth shall         1. DBHDS service authorization data will continue to demonstrate an increase
                  not exclude any otherwise                in the percentage of the DD Waiver population being served in the most
                  qualifying individual from the target    integrated settings.
                  population due to the existence of
                  complex behavioral or medical            2. 86% of individuals receiving waiver services will begin to receive authorized
                  needs or of co-occurring conditions,     hours of behavioral supports (Therapeutic Consultation) within 60 days from
                  including but not limited to, mental     the date these supports are identified as a need in the individual’s ISP.
                  illness, traumatic brain injuries, or
                  other neurological conditions.)          3. 86% of individuals receiving waiver services will begin to receive authorized
                                                           units of private duty and skilled nursing services within 60 days from the date
                                                           these supports are identified as a need in the individual’s ISP.

                                                           4. DBHDS will continue to screen children through a VIDES assessment prior
                                                           to admission to an ICF/IID.

                                                           5. DBHDS will track individuals under 21 who have received a PASRR
                                                           screening for nursing facility entry or a VIDES assessment for ICF/IID entry
                                                           and have been admitted.

                                                           6. DBHDS will prioritize efforts to discharge individuals aged 10 and under
                                                           from ICFs/IID.
                                                                                                                                     14
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                                               7. DBHDS provides a Community Transition Guide to families of children in
                                               nursing facilities and ICFs/IID. The Guide is provided when a request for a
                                               VIDES assessment is made and every 6 months thereafter. The Guide is
                                               designed to provide practical information to children and their families who are
                                               preparing to transition from nursing facilities and ICFs/IID to homes in the
                                               community. The Guide assists families in preparing to move to a new home
                                               through an introduction to resources and services such as DD Waivers, CSBs,
                                               and the DBHDS Community Transition Team that can assist the family with the
                                               transition process. Funds are available to CSBs for the provision of case
                                               management during the discharge process if it exceeds the 30 days allowable by
                                               Medicaid.

                                               8. DBHDS has a process to review and approve, as available, requests for
                                               emergency waiver slots and other funding supports to address emergency
                                               situations when alternate options have been exhausted.

                                               In order to meet these outcome measures, the Commonwealth will have to
                                               develop provider capacity. To do this, DBHDS implemented the Provider Data
                                               Summary, a framework that produces an ongoing, system-wide gap analysis on
                                               the availability of integrated services including services to people with complex
                                               needs (i.e., individuals with SIS© level 6 and 7 support needs). DBHDS
                                               engages providers in this provider development effort through:
                                               • semi-annual webinars;
                                               • written reports on service availability and gaps in services;
                                               • providing population and service data by locality;
                                               • quarterly regional provider meetings; and
                                               • the availability of Community Resource Consultants for technical assistance
                                                   with program development.

                                               DBHDS will continue to include information in the gap analysis report
                                               (required by Section V.D.6) on a semi-annual basis and will organize and make
                                               available training resources for providers supporting people with the most
                                               complex needs (i.e., those with a SIS© score of Level 6 or 7). Reports will

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                                                         include regional data regarding nursing and behavioral support services, so that
                                                         gaps in those services can be identified and services developed.

                                                         DBHDS provides resources for staff training and other programmatic expenses
                                                         through Jump-Start. Providers seeking to fill an identified gap can request up to
                                                         $50,000 per year for up to two service options while funding is available.
                                                         Funding for environmental modifications and adaptive equipment continues to
                                                         be available under the waivers to support individuals with complex needs in
                                                         more integrated settings.

                                                         DBHDS is participating in the national Business Acumen Learning
                                                         Collaborative and is finalizing a Provider Readiness Education Program, which
                                                         will provide education to strengthen providers early in the licensing process and
                                                         also serve to support providers who are under remediation with Medicaid or
                                                         Licensing.

                                                         DBHDS has established targets for provider capacity and competency that
                                                         include:

                                                         20% of Virginia localities have a minimum of two of four service options
                                                         supporting individuals with independent living by 6/30/2020 (i.e., at least two
                                                         options of the following in each locality: in-home support services, independent
                                                         living supports, supported living, and/or shared living).

                                                         45% of Virginia localities have a minimum of two community engagement
                                                         service providers supporting individuals by 6/30/2019.

                                                         15% of all newly licensed providers of DD services attend Provider Readiness
                                                         Education Program training by 6/30/2020.

19      III.D.5   Individuals in the target population   The findings of noncompliance with this provision relate solely to family-to-
                  shall not be served in a sponsored     family and peer programs. The Commonwealth asserts that it will be in
                  home or any congregate setting,        compliance with this provision of the Settlement Agreement when:
                  unless such placement is consistent
                  with the individual’s choice after     1. At least 86% of individuals on the waiver waitlist as of December 2019 have
                                                                                                                                     16
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                  receiving options for community          received information on accessing Family-to-Family and Peer Mentoring
                  placements, services, and supports       resources.
                  consistent with the terms of Section
                  IV.B.9 below.                            2. The Virginia Choice Form is completed as part of the annual ISP process.
                                                           DBHDS will update the form to include a reference to the Family-to-Family
                  (IV.B.9: PSTs and the CSB case           Program and Peer Mentoring resources so that individuals and families can be
                  manager shall coordinate with the        connected to the support when initial services are being discussed or a change in
                  specific type of community               services is requested.
                  providers identified in the discharge
                  plan as providing appropriate            3. The Commonwealth will track and report on outcomes with respect to the
                  community-based services for the         number of individuals receiving DD waiver services with whom family-to-
                  individual, to provide individuals,      family and the peer-to-peer supports have contact and the number who receive
                  their families, and, where               the service.
                  applicable, their Authorized
                  Representative with opportunities to
                  speak with those providers, visit
                  community placements (including,
                  where feasible, for overnight visits)
                  and programs, and facilitate
                  conversations and meetings with
                  individuals currently living in the
                  community and their families,
                  before being asked to make a choice
                  regarding options. The
                  Commonwealth shall develop
                  family-to-family and peer programs
                  to facilitate these opportunities.)

20      III.D.6   No individual in the target              The Commonwealth will achieve compliance with this provision of the
                  population shall be placed in a          Settlement Agreement when:
                  nursing facility or congregate setting
                  with five or more individuals unless     1. 86% of non-emergency cases statewide that require referral to the RST under
                  such placement is consistent with        Section III.E.3 of the Settlement Agreement are actually referred to the RST.
                  the individual’s needs and informed
                  choice and has been reviewed by the      2. 86% of non-emergency cases referred to the RST meet the timeliness
                                                                                                                                      17
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                  Region’s Community Resource             requirements of the DBHDS RST Protocol.
                  Consultant (CRC) and, under
                  circumstances described in Section      This provision of the Settlement Agreement does not require quality assurance
                  III.E below, the Regional Support       review, data analysis, or a quality improvement process so indicators purporting
                  Team (RST).                             to require the Commonwealth to do those things should not be imposed. The
                                                          Commonwealth acknowledges, however, that in order to meet these standards
                                                          and demonstrate that it meets these standards, the Commonwealth, through
                                                          DBHDS, will necessarily have to perform quality assurance reviews, data
                                                          analysis, and quality improvement activities at both the state and CSB levels.
                                                          The scope and breadth of those activities should be at the Commonwealth’s
                                                          discretion.
21      III.E.2   The CRC may consult at any time         The Independent Reviewer found the Commonwealth to be in compliance with
                  with the Regional Support Team          this provision in his December 2018 report.
                  (RST). Upon referral to it, the RST
                  shall work with the Personal
                  Support Team (“PST”) and CRC to
                  review the case, resolve identified
                  barriers, and ensure that the
                  placement is the most integrated
                  setting appropriate to the
                  individual’s needs, consistent with
                  the individual’s informed choice.
                  The RST shall have the authority to
                  recommend additional steps by the
                  PST and/or CRC.

22       IV.A     To ensure that individuals are served   To comply with Section IV of the Settlement Agreement, the Commonwealth
                  in the most integrated setting          developed a 12-week discharge process for use in all of its training centers. As
                  appropriate to their needs, the         of April 15, 2019, the Commonwealth’s implementation of this process has
                  Commonwealth shall develop and          resulted in the discharge of 762 individuals from training centers into more
                  implement discharge planning and        integrated settings in the community and the closure of three training centers.
                  transition processes at all Training    Just 51 individuals remain in Central Virginia Training Center (CVTC), which is
                  Centers consistent with the terms of    scheduled to close in 2020. The current combined census of CVTC,
                  this Section and person-centered        Southeastern Virginia Training Center (scheduled to remain open with a capacity
                  principles.                             of 75), and Hiram W. Davis Medical Center (scheduled to remain open) is 149.
                                                                                                                                     18
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                                                          DBHDS directs the training center discharge planning process through its
                                                          Departmental Instruction 216(RTS)12 – Training Center Responsibilities
                                                          Related to Person-Centered Discharge Planning (“DI 216”). DI 216 defines
                                                          person-centered as “focusing on the needs and preferences of the individual (not
                                                          the system or service availability) and empowering and supporting individuals in
                                                          defining the direction for their own lives and promoting self-determination, and
                                                          community inclusion--recognizing that all individuals are capable of living in
                                                          smaller, integrated settings when supports are designed around an individual,
                                                          and not around a program.” All training center leadership and clinical and other
                                                          employees who serve on Personal Support Teams are required to complete
                                                          training on implementation of DI 216 and person-centered thinking, and
                                                          documentation of this training is maintained in employee personnel records.

                                                          Additional detail regarding the Commonwealth’s compliance with other
                                                          provisions of Section IV is provided below.

23      IV.B.4.   The goal of treatment and discharge     The Commonwealth’s treatment and discharge planning is consistent with this
                  planning shall be to assist the         provision. To assist individuals’ in achieving outcomes that promote their
                  individual in achieving outcomes        growth, wellbeing, and independence, training centers implement DI 216. This
                  that promote the individual’s           policy directs assessment of individuals’ strengths, needs, goals, and
                  growth, wellbeing, and                  preferences. Individuals’ needs are assessed, as appropriate, by physicians,
                  independence, based on the              nurses, psychologists, social workers, and other ancillary services professionals
                  individual’s strengths, needs, goals,   (e.g., physical therapists and nutritionists). Individuals and their family
                  and preferences, in the most            members participate in discharge planning meetings, and their preferences are
                  integrated settings in all domains of   sought and documented. Assessments include identification of what is
                  the individual’s life (including        “Important To” and “Important For” the individual, what a “Good Life” for them
                  community living, activities,           would include, and their “Talents/Contributions.” Community providers who
                  employment, education, recreation,      can provide needed services and supports upon discharge to the community are
                  healthcare, and relationships).         identified during the discharge planning process. These elements can be found
                                                          in DI 216 and/or the training center Discharge Plan and Discussion Record.

                                                          These assessments and discharge planning discussions and decisions are
                                                          documented in the Discharge Plan and Discussion Record. As directed by DI
                                                          216, the Discharge Plan and Discussion Record evaluates and documents needed
                                                                                                                                     19
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                                               supports and services in the following areas: Staffing supports, Nutritional,
                                               Environmental, Medical/nursing, Behavioral, Supported employment/day
                                               support, Mental health, Substance abuse, Physical therapy, Occupational
                                               therapy, Speech/language therapy, Communication, Equipment, Transportation,
                                               Social, Recreational, Financial, Legal, Advocacy, Authorized Representative
                                               appointment, Educational, Housing, and Accessibility.

                                               When a potential residential provider is selected, DBHDS staff facilitate trial
                                               visits to the home. DBHDS provides training to the selected provider related to
                                               the individual’s specific needs to ensure they are prepared to support the
                                               individual in the home. The provider receives a thorough, documented history of
                                               the individual’s status and needs. The visits are reviewed by the PST to
                                               determine if the potential provider will meet the individual’s needs, address any
                                               problems that were identified on the visits, finalize a projected move date, and
                                               begin making final arrangements to ensure all essential supports are in place
                                               prior to the move.

                                               Once an individual has discharged, DBHDS conducts post-move monitoring to
                                               ensure the continuation of supports and services as identified in the pre- and
                                               post-move process. The post-move monitoring process continues for a minimum
                                               of one year post-discharge and is completed in a series of visits by training
                                               center post-move monitoring staff, DBHDS Office of Human Rights staff, the
                                               CSB support Coordinator, and as needed, by the DBHDS Office of Licensing,
                                               Community Resource Consultants, and the DBHDS Office of Integrated Health.

                                               The Independent Reviewer last reviewed the discharge provisions of Section IV
                                               of the Settlement Agreement for his June 13, 2018 Report to the Court. He
                                               concluded that the Commonwealth has created a well-organized and well-
                                               documented discharge planning and transition process and that it has led to
                                               positive outcomes for individuals. June 13, 2018 Report to the Court at 63. The
                                               stated basis for the finding of Non Compliance with this provision, however, was
                                               a lack of integrated day activities in the community. Id. at 18. At that time,
                                               integrated day activity options were still a relatively new service, having first
                                               become available with the redesign of the waivers in September 2016. Since
                                               then, 507 of the 670 individuals who discharged from a training center with a
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                                                          waiver have accessed integrated day activity options. Still, it will take some
                                                          time for individuals who have resided in institutions, and their families, to
                                                          become comfortable with new day programs. While this may indicate continued
                                                          growth of the integrated day activity service option, it is not a deficiency in the
                                                          Commonwealth’s discharge planning process.

24      IV.B.6    Discharge planning will be done by      Discharge planning at the training centers is done by individuals’ Personal
                  the individual’s PST…Through a          Support Teams (“PSTs”). In accordance with DI 216, PSTs include:
                  person-centered planning process,       “professionals, paraprofessionals, and non-professionals who possess the
                  the PST will assess an individual’s     knowledge, skills, and expertise necessary to accurately identify a specific
                  treatment, training, and habilitation   individual’s comprehensive array of needs and design a program that is
                  needs and make recommendations          responsive to those needs. At a minimum, the PST includes the individual,
                  for services, including                 Authorized Representative, CSB support coordinator, and other invited members
                  recommendations of how the              of the individual’s interdisciplinary team or those involved in the individual’s
                  individual can be best served.          life.” As noted above in the response to Section IV.A, this process is person-
                                                          centered. In accordance with DI 216, service and support needs are based on the
                                                          individual’s strengths, desires, and preferences related to community integration.
                                                          Assessments are presented during the discharge planning process by relevant
                                                          professional disciplines. The PST presents information to the individual and
                                                          authorized representative about specific community placements, services, and
                                                          supports and provides an opportunity to discuss and meaningfully consider those
                                                          options. Recommendations for services to meet identified treatment, training,
                                                          and habilitation needs are made and documented in the individual’s Discharge
                                                          Plan and Discussion Record.

                                                          The Independent Reviewer’s stated basis for a finding of noncompliance with
                                                          this provision is a lack of recommendations for integrated day services in
                                                          discharge plans. Training center staff did not make recommendations for
                                                          integrated day services before integrated day activity options were included in
                                                          the Commonwealth’s waiver service array. A dedicated staff at Central Virginia
                                                          Training Center is now responsible for developing and ensuring that integrated
                                                          day activity opportunities are incorporated into individuals’ current Discharge
                                                          Plan and Discussion Record.

25      IV.B.15   In the event that a PST makes a         The Independent Reviewer found the Commonwealth in Compliance with this

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                 recommendation to maintain                provision, and IV.D.2.a and IV.D.3, in his June 13, 2018 Report to the Court.
                 placement at a Training Center or to      The Commonwealth continues to implement the processes that led to
                 place an individual in a nursing home     compliance.
                 or congregate setting with five or
                 more individuals, the decision shall      Throughout the 12-week discharge planning process implemented in accordance
                 be documented, and the PST shall          with DI 216, the PST identifies multiple service options that can meet the
                 identify the barriers to placement in a   individual’s assessed needs. These options are discussed by the PST during
                 more integrated setting and describe      discharge planning meetings, which include the individual and the individual’s
                 in the discharge plan the steps the       authorized representative. Barriers to more integrated settings are identified and
                 team will take to address the barriers.   addressed as possible during this process. See, e.g., DI 216 at 16-17, which
                 The case shall be referred to the         defines PST procedures for identifying barriers to moving to the most integrated
                 Community Integration Manager and         setting and strategies intended to overcome those barriers. In the event that the
                 Regional Support Team in                  individual ultimately chooses to continue to receive services in a training center
                 accordance with Sections IV.D.2.a         or discharge to a nursing home or congregate setting with five or more
                 and f and IV.D.3 and such                 individuals, this decision is documented in the individual’s Discharge Plan and
                 placements shall only occur as            Discussion Record. Section 10 of the Discharge Plan and Discussion Record
                 permitted by Section IV.C.6.              prompts completion of a Regional Support Team (“RST”) referral form and
                                                           review by the training center Community Integration Manager. The Community
                                                           Integration Manager immediately submits a referral to the RST upon such
                                                           recommendation. The DBHDS Regional Support Team Protocol and DI 216
                                                           direct referral to the RST when a recommendation is made for the individual to
                                                           remain in a training center or move to a nursing home or congregate setting with
                                                           five or more individuals.

26      IV.C.5   The Commonwealth shall ensure that        In his June 13, 2018 Report to the Court, the Independent Reviewer determined
                 the PST will identify all needed          the Commonwealth is in Compliance with this provision of the Settlement
                 supports, protections, and services to    Agreement.
                 ensure successful transition in the
                 new living environment, including         Personal Support Teams identify supports and services needed to ensure
                 what is most important to the             successful transition to a community placement. As noted above, this includes
                 individual as it relates to community     assessment of the individual’s current support needs in the following areas:
                 placement. The Commonwealth, in           staffing support, supported employment/day options, environment,
                 consultation with the PST, will           medical/nursing, mental health, behavioral, nutritional, physical therapy, speech
                 determine the essential supports          language therapy, communication, equipment, transportation, social,
                 needed for successful and optimal         recreational, legal, and advocacy. Supports and services that are “Important To”
                                                                                                                                       22
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                 community placement. The                 and “Important For” the individual are determined based on review of the
                 Commonwealth shall ensure that           individual’s profile, Comprehensive Functional Assessment recommendations,
                 essential supports are in place at the   SIS© and other related assessments, and event/incident data (e.g.,
                 individual’s community placement         hospitalizations, falls, aspiration). These are documented in Section 3 of the
                 prior to the individual’s discharge      Discharge Plan and Discussion Record. See also DI 216 at 11.
                 from the Training Center. This
                 determination will be documented.        In addition, in consultation with the PST, the Commonwealth determines
                 The absence of those services and        essential supports needed for successful and optimal community placement. DI
                 supports identified as non-essential     216 directs the procedures for identifying essential and non-essential supports –
                 by the Commonwealth, in                  see DI 216 at 15-16 – and essential health and safety supports are documented in
                 consultation with the PST, shall not     Section 5 of the Discharge Plan and Discussion Record. In his June 13, 2018
                 be a barrier to transition.              Report to the Court, the Independent Reviewer stated in his comments to Section
                                                          IV.C.5 that, “essential supports were in place prior to discharge for…18 of 19
                                                          (94.7%) who were studied during the twelfth review period[].” See Report of
                                                          the Independent Reviewer on Compliance with the Settlement Agreement, June
                                                          13, 2018, at 23.

27      IV.D.3   The Commonwealth will create five        In his June 13, 2018 Report to the Court, the Independent Reviewer determined
                 Regional Support Teams, each             the Commonwealth is in Compliance with this provision of the Settlement
                 coordinated by the CIM. The              Agreement.
                 Regional Support Teams shall be
                 composed of professionals with           A Regional Support Team (“RST”) is established in each Region.
                 expertise in serving individuals with
                 developmental disabilities in the        The DBHDS Regional Support Team Protocol defines Regional Support Team
                 community, including individuals         as a, “Group of professionals with expertise in serving individuals with
                 with complex behavioral and medical      developmental disabilities in the community appointed by the commissioner or
                 needs. Upon referral to it, the          his designee who provide recommendations to support placement in the most
                 Regional Support Team shall work         integrated setting appropriate to an individual’s needs and consistent with the
                 with the PST and CIM to review the       individual’s informed choice.” Each RST includes members with experience
                 case and resolve identified barriers.    with individuals with complex behavioral and medical needs (e.g.,
                 The Regional Support Team shall          representatives from REACH, medical representatives from the training center in
                 have the authority to recommend          the region and/or community, and a Registered Nurse Community Consultant).
                 additional steps by the PST and/or
                 CIM. The CIM may consult at any          In accordance with the DBHDS Regional Support Team Protocol, RSTs meet at
                 time with the Regional Support           least once per month, or more often as necessary. Emergency meetings convene
                                                                                                                                     23
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                 Teams and will refer cases to the      as requested by the training center Community Integration Manager or the RST
                 Regional Support Teams when:           Coordinator for review of emergency referrals. The Community Integration
                                                        Manager may consult with the RST at any time for assistance in facilitating
                 a. The CIM is unable, within 2 weeks integrated community living. During RST meetings, referrals and barriers are
                 of the PST’s referral to the CIM, to   reviewed, resources are identified, and recommendations are provided. The RST
                 document attainable steps that will be Coordinator or designee will forward the RST Recommendations Tracker to the
                 taken to resolve any barriers to       Community Integration Manager, case manager, and case manager supervisor as
                 community placement enumerated in soon as possible but no later than five business days after the RST meeting. The
                 Section IV.D.2 above.                  Community Integration Manager responds to RST recommendations within 15
                                                        business days unless otherwise determined and noted on the RST
                 b. A PST continues to recommend        Recommendations Tracker. The Recommendations Tracker provides the
                 placement in a Training Center at the Community Integration Manager written documentation of outcomes and final
                 second quarterly review following      disposition.
                 the PST’s recommendation that an
                 individual remain in a Training
                 Center (Section IV.D.2.f), and at all
                 subsequent quarterly reviews that
                 maintain the same recommendation.
                 This paragraph shall not take effect
                 until two years after the effective
                 date of this Agreement.

                 c. The CIM believes external review
                 is needed to identify additional steps
                 that can be taken to remove barriers
                 to discharge.
28        V.A    To ensure that all services for          This is an introductory section. No action steps are needed.
                 individuals receiving services under
                 this Agreement are of good quality,
                 meet individuals’ needs, and help
                 individuals achieve positive
                 outcomes, including avoidance of
                 harms, stable community living, and
                 increased integration, independence,
                 and self-determination in all life
                                                                                                                               24
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                 domains (e.g., community living,
                 employment, education, recreation,
                 healthcare, and relationships), and to
                 ensure that appropriate services are
                 available and accessible for
                 individuals in the target population,
                 the Commonwealth shall develop
                 and implement a quality and risk
                 management system that is consistent
                 with the terms of this Section.

29        V.B    The Commonwealth’s Quality                If the Commonwealth is compliant with Section V of the Settlement Agreement
                 Management System shall: identify         as a whole, it should result in compliance with this provision. The
                 and address risks of harm; ensure the     Commonwealth asserts that it will achieve compliance with this provision of the
                 sufficiency, accessibility, and quality   Settlement Agreement when:
                 of services to meet individuals’ needs
                 in integrated settings; and collect and   1. DBHDS implements an incident management process that is responsible for
                 evaluate data to identify and respond     review and follow-up of all reported serious incidents, as defined in the
                 to trends to ensure continuous quality    Licensing Regulations.
                 improvement.                                      a. DBHDS develops incident management protocols that include
                                                                       triage criteria and a process for follow-up and coordination with
                                                                       licensing specialists and investigators and human rights advocates as
                                                                       well as referral to other DBHDS Offices as appropriate.
                                                                  b. Processes enable DBHDS to identify and, where possible, prevent or
                                                                       mitigate future risks of harm.
                                                                   c. Follow-up on individual incidents, as well as review of patterns and
                                                                       trends, will be documented.
                                                           2. The Commonwealth has a Risk Management Review Committee. The Risk
                                                               Management Review Committee has a charter that defines its purpose,
                                                               membership, frequency of meetings, responsibilities, and its relationship to
                                                               other committees, such as the Quality Improvement Committee and
                                                               Mortality Review Committee.
                                                                   a. The Risk Management Review Committee meets at least 8 times
                                                                       during the year.
                                                           3. Meeting minutes document that the Risk Management Review Committee
                                                                                                                                       25
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                                                     reviews aggregate incident data at least four times per year by various levels
                                                     such as by region, by CSB, by provider locations, by individual, or by levels
                                                     and types of incidents. Data is also reviewed across time for trends.
                                               4.    Meeting minutes document that the Risk Management Review Committee
                                                     reviews data on human rights allegations, including allegations of physical
                                                     or sexual abuse, and allegations of financial exploitation.
                                               5.    Meeting minutes document that the Risk Management Review Committee
                                                     uses the results of data reviewed to identify areas for improvement. The
                                                     Risk Management Review Committee identifies priorities and drafts quality
                                                     improvement plans as needed as determined by the Risk Management
                                                     Review Committee, including identified strategies and metrics to monitor
                                                     success, or refers these areas to the Quality Improvement Committee for
                                                     consideration for targeted quality improvement efforts. The Risk
                                                     Management Review Committee or Quality Improvement Committee
                                                     ensures that each quality improvement plan is implemented.
                                               6.    The DBHDS Office of Licensing assesses provider compliance with serious
                                                     incident reporting during investigations and as part of the annual inspection
                                                     process. This includes assessing whether:
                                                         a. Serious incident reports are filed within 24 hours of identification.
                                                         b. The provider has conducted at least quarterly review of all level 1
                                                             serious incidents, and a root cause analysis of all level 2 and level 3
                                                             serious incidents;
                                                         c. The root cause analysis, if required by the Licensing Regulations,
                                                             includes i) a detailed description of what happened; ii) an analysis of
                                                             why it happened, including identification of underlying causes under
                                                             the control of the provider; and iii) identified solutions to mitigate its
                                                             reoccurrence.
                                               7.    The Risk Management Review Committee conducts a look-behind review
                                                     of a random sample of reported serious incidents. The review will evaluate
                                                     whether the incident was triaged appropriately according to developed
                                                     protocols and if appropriate follow-up and mitigation occurred when
                                                     necessary. Results will be reviewed at least quarterly. The Risk
                                                     Management Review Committee will recommend improvement activities
                                                     when necessary and track implementation of these activities.
                                               8.    Meeting minutes document that the Risk Management Review Committee
                                                                                                                                 26
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                                                             reviews summary reports from the incident management team regarding
                                                             provider compliance with incident reporting requirements, identifies areas
                                                             for improvement, and recommends the initiation of quality improvement
                                                             activities when necessary.
                                                         9. The Risk Management Review Committee establishes a goal that within one
                                                             year at least 86% of reported serious incidents assessed by licensing reviews
                                                             meet the criteria identified in number 6. If this goal is not met the Risk
                                                             Management Review Committee or Quality Improvement Committee
                                                             identifies whether a quality improvement plan is necessary, and if so,
                                                             oversees implementation.
                                                         10. The Commonwealth informs providers, case managers, and other
                                                             stakeholders of any systemic interventions required as the result of trend
                                                             analyses based on information from investigations of reports of suspected or
                                                             alleged abuse, neglect, serious incidents, and deaths. The Commonwealth
                                                             informs providers of their responsibility to address such recommendations
                                                             in a timely manner by implementing them or substantiating that they are
                                                             unnecessary.
                                                         11. DBHDS’ Quality Management System documents that it uses the processes
                                                             in V.D.2-3 and considers all resulting findings of these processes to:
                                                                 a. Identify any areas of needed improvement;
                                                                 b. Develop improvement strategies and associated measures of success;
                                                                 c. Implement the strategies within 3 months of identification;
                                                                 d. Monitor identified outcomes at least annually using identified
                                                                      measures;
                                                                 e. Revise the improvement strategy as needed; and
                                                                 f. Identify areas of success to be expanded or replicated.

30       V.C.1   The Commonwealth shall require          The Commonwealth asserts that it is in compliance with this provision of the
                 that all Training Centers, CSBs, and    Settlement Agreement. The Licensing Regulations require providers and CSBs
                 other community providers of            to implement risk management processes, including establishment of uniform
                 residential and day services            risk triggers and thresholds. See 12 VAC 35-105-520 found at
                 implement risk management               http://register.dls.virginia.gov/details.aspx?id=6997.
                 processes, including establishment of
                 uniform risk triggers and thresholds,   The plain language of this provision of the Settlement Agreement does not
                 that enable them to adequately          require training, publication of guidance, or quality review and improvement
                                                                                                                                    27
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                 address harms and risks of harm.         processes so indicators purporting to require the Commonwealth to do those
                 Harm includes any physical injury,       things should not be imposed. Although not required by this provision of the
                 whether caused by abuse, neglect, or     Agreement, DBHDS has taken or plans to take the following actions:
                 accidental causes.                       1. The DBHDS Office of Licensing has published guidance on serious incident
                                                          and quality improvement requirements. Additional guidance on risk
                                                          management requirements will be published to include:
                                                                  a. Designation of an individual responsible for risk management with
                                                                      specific training and expertise;
                                                                  b. Development of a written plan to identify, monitor, reduce, and
                                                                      minimize harms and risks of harm, including personal injury,
                                                                      infectious disease, property damage or loss, and other sources of
                                                                      potential liability;
                                                                  c. Conducting annual risk assessments assessing: the environment of
                                                                      care; clinical assessment or reassessment processes; staff
                                                                      competence and adequacy of staffing; use of high risk procedures,
                                                                      including seclusion and restraint; and review of serious incidents.
                                                                  d. Incorporation of uniform risks triggers and thresholds as defined by
                                                                      DBHDS.
                                                          2. At least 86% of licensed providers of DD services have been assessed for
                                                              their compliance with risk management requirements in the Licensing
                                                              Regulations during their annual inspections.
                                                          3. At least 95% of licensed providers of DD services determined to be non-
                                                              compliant with the risk management requirements of the Licensing
                                                              Regulations will have developed a corrective action plan.
                                                          4. DBHDS will publish uniform risk triggers and thresholds for use by all
                                                              providers by September 30, 2019 on the Department’s website.
                                                          5. DBHDS will publish guidance for providers on implementing uniform risk
                                                          triggers and thresholds.

31       V.C.3   The Commonwealth shall have and          The Independent Reviewer found the Commonwealth to be in compliance with
                 implement a process to investigate       this provision in his December 2018 report.
                 reports of suspected or alleged abuse,
                 neglect, critical incidents, or deaths   DBHDS has internal protocols to investigate reports of suspected or alleged
                 and identify remediation steps taken.    abuse, neglect, critical incidents, and deaths and identify remediation steps taken
                 The Commonwealth shall be                that adhere to the requirements in the Licensing Regulations and the Regulations
                                                                                                                                       28
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                 required to implement the process for   to Assure the Rights of Individuals Receiving Services from Providers Licensed,
                 investigation and remediation           Funded or Operated by the Department of Behavioral Health and
                 detailed in the Virginia DBHDS          Developmental Services (“Human Rights Regulations”). The DBHDS Office of
                 Licensing Regulations (12 VAC 35-       Licensing verifies the implementation of corrective action.
                 105-160 and 12 VAC 35-105-170 in
                 effect on the effective date of this
                 Agreement) and the Virginia Rules
                 and Regulations to Assure the Rights
                 of Individuals Receiving Services
                 from Providers Licensed, Funded or
                 Operated by the Department of
                 Mental Health, Mental Retardation
                 and Substance Abuse Services
                 (“DBHDS Human Rights
                 Regulations” (12 VAC 35-115-
                 50(D)(3)) in effect on the effective
                 date of this Agreement, and shall
                 verify the implementation of
                 corrective action plans required
                 under these Rules and Regulations.

32       V.C.4   The Commonwealth shall offer          The Commonwealth will achieve compliance with this provision of the
                 guidance and training to providers on Settlement Agreement when:
                 proactively identifying and
                 addressing risks of harm, conducting 1. DHDBDS makes training and guidance available to providers on each of the
                 root cause analysis, and developing       following topics with an application to disability services, or at minimum to
                 and monitoring corrective actions.        human services:
                                                               a. proactively identifying and addressing risks of harm
                                                               b. conducting root cause analysis
                                                               c. developing and monitoring corrective actions.

                                                         This provision of the Settlement Agreement does not require the
                                                         Commonwealth to offer guidance or training other than that specified above,
                                                         nor does it dictate the contents of the specified guidance or training. Indicators
                                                         purporting to require the Commonwealth to offer guidance and training beyond
                                                                                                                                      29
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                                                         those topics or with certain content should not be imposed. Although not
                                                         required by this provision of the Agreement, DBHDS has taken or plans to take
                                                         the following actions:

                                                         2. The written guidance offered to providers (including residential,
                                                            day/employment, and case management) on how to proactively identify and
                                                            address risks of harm will include:
                                                                a. Guidance on conducting individual-level risk screening
                                                                b. Either a tool for risk screening selected by DBHDS or example
                                                                    resources for consideration by providers to use when conducting risk
                                                                    screening
                                                                c. Guidance on how to incorporate the identified risks into service
                                                                    planning and how to adequately address the risks
                                                         3. DBHDS publishes Safety Alerts for risks common to people with
                                                            developmental disabilities, which include considerations for how to
                                                            appropriately and adequately monitor, assess, and address each risk. DBHDS
                                                            will review its Safety Alerts annually and revise as necessary to ensure
                                                            current guidance is included in each alert. Safety Alerts are already published
                                                            on the following:
                                                                a. choking, aspiration pneumonia, bowel obstruction, UTIs, change of
                                                                    mental status, and decubitus ulcers.
                                                         4. Topics for future Safety Alerts will be determined by the results of risk
                                                            management activities, including mortality reviews. Safety Alerts will be
                                                            posted on the DBHDS website and the DBHDS provider listserve.
                                                         5. DBHDS offers written guidance to providers on developing, implementing,
                                                            and monitoring corrective actions the provider identifies as necessary, as
                                                            well as identified solutions to mitigate the re-occurrence of serious incidents.

33       V.C.5   The Commonwealth shall conduct          The Commonwealth, through the Commissioner of DBHDS, has established a
                 monthly mortality reviews for           Mortality Review Committee to review unexplained or unexpected deaths
                 unexplained or unexpected deaths        reported through the DBHDS incident reporting system. The membership of the
                 reported through its incident           Mortality Review Committee includes the DBHDS Chief Clinical Officer
                 reporting system. The Commissioner      (Medical Director), the DBHDS Senior Director of Clinical Quality
                 shall establish the monthly mortality   Management (formerly titled Assistant Commissioner for Quality Improvement),
                 review team, to include the DBHDS       a member with clinical experience to conduct mortality review who is otherwise
                                                                                                                                     30
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                Medical Director, the Assistant           independent of the State, and other members DBHDS has determined possess
                Commissioner for Quality                  appropriate experience, knowledge, and skills, including a nurse, a medical
                Improvement, and others as                doctor, DBHDS staff with quality improvement expertise, and DBHDS staff
                determined by the Department who          with programmatic/operational expertise. Findings of noncompliance with this
                possess appropriate experience,           provision are based on inadequate attendance by the members at the meetings of
                knowledge, and skills. The team           the Mortality Review Committee and mortality reviews not being completed
                shall have at least one member with       within 90 days of each unexplained or unexpected death. The Commonwealth
                the clinical experience to conduct        asserts that it will be in full compliance with this provision of the Settlement
                mortality reviews who is otherwise        Agreement when:
                independent of the State. Within
                ninety days of a death, the mortality     1. 86% or more of unexplained or unexpected deaths, as defined in the charter
                review team shall: (a) review, or         of the Mortality Review Committee, reported through the DBHDS incident
                document the unavailability of: (i)       management system will be reviewed by the Mortality Review Committee
                medical records, including physician      within 90 days of the date of each death. Each review will include (a) a review,
                case notes and nurse’s notes, and all     or documentation of the unavailability of: (i) medical records, including
                incident reports, for the three months    physician case notes and nurse’s notes, and all incident reports, for the three
                preceding the individual’s death; (ii)    months preceding the individual’s death; (ii) the most recent individualized
                the most recent individualized            program plan and physical examination records; (iii) the death certificate and
                program plan and physical                 autopsy report; and (iv) any evidence of maltreatment related to the death; (b)
                examination records; (iii) the death      interviewing, as warranted, any persons having information regarding the
                certificate and autopsy report; and       individual’s care; and (c) preparing and delivering to the DBHDS Commissioner
                (iv) any evidence of maltreatment         a report of deliberations, findings, and recommendations, if any.
                related to the death; (b) interview, as
                warranted, any persons having             2. The Mortality Review Committee meets monthly in accordance with the
                information regarding the                 quorum requirements set forth by the MRC charter, which at a minimum require
                individual’s care; and (c) prepare and    the presence of a medical clinician and a member with clinical experience to
                deliver to the DBHDS Commissioner         conduct mortality reviews who is independent of the State. One person may
                a report of deliberations, findings,      satisfy both of these roles.
                and recommendations, if any. The
                team also shall collect and analyze       3. The Mortality Review Committee analyzes mortality data to identify trends,
                mortality data to identify trends,        patterns, and problems in mortality at the individual service-delivery and the
                patterns, and problems at the             systemic levels among service types, residential settings, and demographic
                individual service-delivery and           factors.
                systemic levels and develop and
                implement quality improvement             4. The Mortality Review Committee makes at least two recommendations to the
                                                                                                                                    31
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                initiatives to reduce mortality rates to   DBHDS Commissioner for systemic quality improvement initiatives based on
                the fullest extent practicable.            patterns or trends annually.

                                                           5. In addition to systemic quality improvement initiatives, the Mortality Review
                                                           Committee will recommend, and implement through DBHDS, quality
                                                           improvement initiatives, both regionally and statewide, as it determines
                                                           necessary based on data patterns, trends, and the significance of the underlying
                                                           issue.

                                                           6. The Mortality Review Committee will continue to use the Mortality Review
                                                           Committee Action Tracking Report to track implementation of its
                                                           recommendations.

                                                           While many of the Indicators proposed by DOJ might be good practice, they are
                                                           not required by this provision of the Settlement Agreement and should not be
                                                           imposed on the Commonwealth. Although not required by this provision of the
                                                           Agreement, DBHDS has taken or plans to take the following actions:


                                                           7. The Commonwealth has a charter describing standard operating
                                                           procedures for conducting mortality reviews that addresses:
                                                           a. The charge to the mortality review committee
                                                           b. The chair of the committee and an executive sponsor
                                                           within DBHDS
                                                           c. The membership of the mortality review committee (by
                                                           role)
                                                           d. The responsibilities of chair and members
                                                           e. The frequency of activities of the committee (e.g.
                                                           meetings)
                                                           f. Review of unexplained or unexpected deaths reported
                                                           through the DBHDS incident reporting system, what a
                                                           complete mortality review must entail, standards
                                                           for closing a review, committee quorum, recusal from
                                                           case reviews, and confidentiality protections for reviews.
                                                           g. The definitions of “unexplained” and “unexpected” deaths
                                                                                                                                     32
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                                               h. Periodic review and analysis of mortality data to identify trends and system-
                                               level factors related to deaths and reporting to the Quality Improvement
                                               Committee.

                                               8. The Mortality Review Committee membership includes at
                                               minimum (one member may satisfy up to 2 roles):
                                               a. DBHDS Chief Clinical Officer (former title Medical Director)
                                               b. DBHDS Senior Director of Clinical Quality Management (former equivalent
                                               position Assistant Commissioner for Quality Improvement)
                                               c. A member with clinical experience to conduct
                                               mortality review who is otherwise independent of the
                                               State
                                               d. A medical doctor
                                               e. A nurse
                                               f. DBHDS staff with quality improvement expertise
                                               g. DBHDS staff with programmatic/operational expertise

                                               9. DBHDS will ensure that Mortality Review Committee members receive
                                               orientation to effectively participate in the committee that includes information
                                               on the expectations regarding their roles on the committee and review of the
                                               Mortality Review Committee charter.

                                               10. The Mortality Review Committee membership meets at least monthly and at
                                               a frequency that enables the Committee to conduct reviews of required deaths.
                                               Meetings meet quorum requirements as set forth by the Mortality Review
                                               Committee charter, which at a
                                               minimum require the presence of 1) a medical clinician, 2) a member with
                                               clinical experience to conduct mortality reviews who is independent of the State,
                                               3) a professional with quality improvement expertise, and 4) a professional with
                                               programmatic/operational expertise. One member may satisfy up to two roles.

                                               11. DBHDS has and utilizes an action tracking log to track the screening,
                                               referral, and review of deaths, as well as the recommendations
                                               of the Mortality Review Committee and their implementation.


                                                                                                                           33
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                                               12. DBHDS requires all licensed providers to report deaths within 24 hours of
                                               discovery. From the DBHDS incident reporting system, a monthly query is
                                               extracted from the data warehouse for reports of deaths for anyone receiving a
                                               licensed DD service, has a DD diagnosis, and/or is in a training center, and the
                                               individuals for whom these apply are entered into a data tracking log for
                                               Mortality Review Committee review. The clinical reviewers on the Mortality
                                               Review Committee review the data tracking log and information received and
                                               determine if a death is unexplained or unexpected and requires a full mortality
                                               review. This determination is made to allow sufficient time to complete a full
                                               mortality review within 90 days of an individual’s death.

                                               13. DBHDS provides the names of individuals who receive DBHDS-licensed
                                               services on a monthly basis to the Virginia Department of Health, which runs a
                                               query of the names to see if any have a death certificate on file. The results of
                                               the query are provided to DBHDS and used by DBHDS to attempt to identify
                                               deaths that may not have been reported through the DBHDS incident
                                               management system.

                                               14. The Mortality Review Committee utilizes procedures set forth in its charter
                                               to prepare and deliver to the DBHDS Commissioner a report of deliberations,
                                               findings, and recommendations, if any, for reviewed deaths within 90 days of the
                                               death. If the mortality review committee elects not to make any
                                               recommendations, it affirmatively states that no recommendations were
                                               warranted.

                                               15. The Mortality Review Committee analyzes aggregate mortality data to
                                               identify trends, patterns, and problems in mortality at the individual service-
                                               delivery and the systemic levels among services types, residential settings, and
                                               demographic factors. It also reviews and discusses trends in the attributes of the
                                               death that were deemed as potentially preventable. Data analyzed includes at
                                               least the number and rate of deaths, findings from recently substantiated
                                               investigations of abuse/neglect, and causes/manner of death related to
                                               unexpected, accidental and intentional deaths.

                                               16. The Mortality Review Committee prepares an annual report of aggregate
                                                                                                                            34
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                                                         mortality trends and patterns for all DBHDS service recipients within 6 months
                                                         of the end of the year (the annual interval may be selected by DBHDS as either
                                                         fiscal or calendar).
                                                         a. The annual report will, at minimum, include analyses of patterns of mortality
                                                         by demographic factors (age, gender, race), residential setting or service
                                                         program, manner of death, cause of death, and by substantiated abuse/neglect
                                                         and will utilize both counts and rates of deaths for DBHDS-licensed settings.
                                                         The report will include the crude mortality rate of individuals with a DD Waiver,
                                                         the total number of deaths in DBHDS-licensed residential settings, and cause of
                                                         death in DBHDS-licensed residential settings.
                                                         b. At minimum, a summary of the findings will be released publicly.

                                                         17. The Mortality Review Committee documents recommendations
                                                         for systemic quality improvement initiatives coming from
                                                         patterns of individual reviews (on an ongoing basis), or patterns
                                                         that emerge from any aggregate examination of mortality data.

                                                         18. Data regarding the implementation of quality improvement initiatives made
                                                         by the Mortality Review Committee and approved by the DBHDS
                                                         Commissioner for implementation are reported to the Mortality Review
                                                         Committee by DBHDS quarterly to enable the Committee to
                                                         track implementation.

34       V.C.6   If the Training Center, CSBs, or        The Commonwealth will achieve compliance with this provision of the
                 other community provider fails to       Settlement Agreement when:
                 report harms and implement
                 corrective actions, the                 1. Licensing inspections and investigation reports show that at least 95% of
                 Commonwealth shall take                 providers who are cited for violating reporting and corrective action
                 appropriate action with the provider    requirements contained in the Licensing Regulations or Human Rights
                 pursuant to the DBHDS Human             Regulations develop and implement corrective action.
                 Rights Regulations (12 VAC 35-115-
                 240), the DBHDS Licensing               2. If a provider receives a repeat citation for violating reporting and corrective
                 Regulations (12 VAC 35-105-170),        action requirements contained in the Licensing or Human Rights Regulations,
                 Virginia Code § 37.2-419 in effect on   DBHDS pursues further action as appropriate and approved by the DBHDS
                 the effective date of this Agreement,   Commissioner pursuant to the Licensing or Human Rights Regulations.
                                                                                                                                       35
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                 and other requirements in this
                 Agreement.                                 Although not required by this provision of the Agreement, DBHDS has taken or
                                                            plans to take the following actions:

                                                            3. DBHDS produces a report on the number of citations made by the DBHDS
                                                            Office of Licensing when it is discovered during an inspection or investigation
                                                            that a reportable incident occurred and was not reported.
                                                            4. DBHDS gathers information to the extent permitted by law from other
                                                            sources such as the disAbility Law Center of Virginia and/or Adult Protective
                                                            Services, on allegations of abuse to determine when alleged abuse may not have
                                                            been reported to DBHDS.
                                                            5. DBHDS will document the number of providers that it finds have not
                                                            reported harms in accordance with the Licensing and Human Rights
                                                            Regulations, the number that have been cited for this failure, and the number
                                                            that have developed corrective action plans.

35       V.D.1   The Commonwealth’s HCBS                    The Commonwealth implements the Quality Improvement Plan approved by
                 waivers shall operate in accordance        CMS in the operation of its HCBS Waivers.
                 with the Commonwealth’s CMS-
                 approved waiver quality                    The Commonwealth has established measures as required and approved by CMS
                 improvement plan to ensure the             in the areas of health and safety, assessment of level of care, individual service
                 needs of individuals enrolled in a         plans, and qualified providers.
                 waiver are met, that individuals have
                 choice in all aspects of their selection   Quarterly data is collected on each measure and reviewed by the DMAS Quality
                 of goals and supports, and that there      Review Team. Remediation actions are implemented as necessary for those
                 are effective processes in place to        measures that fall below the CMS-established 86% standard.
                 monitor participant health and safety.
                 The plan shall include evaluation of       DMAS continues to provide administrative oversight for the DD Waivers,
                 level of care; development and             coordinate reporting to CMS, and conduct financial auditing through current
                 monitoring of individual service           processes.
                 plans; assurance of qualified
                 providers; identification, response        The Commonwealth asserts that it will achieve compliance with this provision of
                 and prevention of occurrences of           the Settlement Agreement when:
                 abuse, neglect and exploitation;
                 administrative oversight of all waiver     1. At least 90% of the performance measures included in the DD Waivers
                                                                                                                                        36
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                    functions including contracting; and      Quality Improvement Strategy meet the CMS-target of 86% compliance for the
                    financial accountability. Review of       most recent 12-month period and or have a remediation plan in place.
                    data shall occur at the local and State
                    levels by the CSBs and                    Although not required by this provision of the Agreement, DBHDS has taken or
                    DMAS/DBHDS, respectively.                 plans to take the following actions:

                                                              1. Measures relating to health and safety, individual service plans, and qualified
                                                              providers are also incorporated into the DBHDS Quality Improvement Strategy
                                                              Key Performance Areas and reviewed by the DBHDS Quality Improvement
                                                              Committee.
                                                              2. The DMAS Quality Review Team will provide a report on the status of the
                                                              performance measures included in the DD Waivers Quality Improvement
                                                              Strategy with recommendations to the DBHDS Quality Improvement
                                                              Committee.

36     V.D.2.a.-d   The Commonwealth shall collect and        The Commonwealth will achieve compliance with this provision of the
                    analyze consistent, reliable data to      Settlement Agreement when:
                    improve the availability and
                    accessibility of services for             1.      DBHDS develops a Data Quality Plan to ensure that it is collecting and
                    individuals in the target population             analyzing consistent reliable data. Under the Data Quality Plan, DBHDS
                    and the quality of services offered to           assesses data quality, including the validity and reliability of data. This
                    individuals receiving services under             assessment provides insight into the key attributes of data quality and an
                    this Agreement. The Commonwealth                 overview of each data source by containing a description of the content of
                    shall use data to:                               the data source and explaining how the data is collected, organized, and
                       a. identify trends, patterns,                 stored.
                           strengths, and problems at the     2.      DBHDS analyzes the data collected under V.D.3.a-h to identify trends,
                           individual, service-delivery,             patterns, and strengths at the individual, service delivery, and system level
                           and systemic levels, including,           in accordance with its Quality Improvement Strategy, detailed further in
                           but not limited to, quality of            V.H.3. The data is used to identify opportunities for improvement, track
                           services, service gaps,                   the efficacy of interventions, and enhance outreach and information.
                           accessibility of services,         3.      DBHDS reviews at least annually data from the Quality Service Reviews
                           serving individuals with                  and National Core Indicators data related to the quality of services, and
                           complex needs, and the                    individual level outcomes to identify potential service gaps or issues with
                           discharge and transition                  the accessibility of services. Strategic improvement recommendations are
                           planning process;                         identified and implemented as needed from this review by DBHDS.
                                                                                                                                             37
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                      b. develop preventative,
                         corrective, and improvement
                         measures to address identified
                         problems;
                      c. track the efficacy of
                         preventative, corrective, and
                         improvement measures; and
                      d. enhance outreach, education,
                         and training.

37     V.D.3.a-h   The Commonwealth shall begin             DBHDS has established three Key Performance Area work groups aimed at
                   collecting and analyzing reliable data   addressing the eight domains identified in this provision of the Settlement
                   about individuals receiving services     Agreement. The Key Performance Area workgroups establish the priority
                   under this Agreement selected from       quality or performance improvement initiatives, data metrics, and outcomes of
                   the following areas in State Fiscal      the domains assigned to their respective workgroup. The workgroups and
                   Year 2012 and will ensure reliable       assigned domains are:
                   data is collected and analyzed from              1) Health and Wellness Workgroup, which encompasses:
                   each of these areas by June 30, 2014.                    a. Safety and Freedom from Harm;
                   Multiple types of sources (e.g.,                         b. Physical, Mental, and Behavioral Health Wellbeing;
                   providers, case managers, licensing,                     c. Avoiding Crisis
                   risk management, Quality Service                 2) Provider Competency and Capacity Workgroup, which encompasses:
                   Reviews) can provide data in each                        a. Provider Capacity;
                   area, though any individual type of                      b. Access to Services
                   source need not provide data in every            3) Community Integration and Inclusion Workgroup, which
                   area:                                            encompasses:
                                                                            a. Community Inclusion
                                                                            b. Choice and Self Determination
                                                                            c. Stability in the Community

                                                            The Commonwealth will achieve compliance with this provision of the
                                                            Settlement Agreement when:

                                                            1. Each Key Performance Area workgroup identifies and develops at least one
                                                            measure and analyzes data regarding each of the domains assigned. Quality
                                                            improvement initiatives are developed as necessary. Relevant data is collected

                                                                                                                                      38
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                                                           by the workgroup to inform and monitor the quality improvement initiative. The
                                                           Office of Data Quality and Visualization conducts the data analysis for each of
                                                           the workgroups. The Data Quality Plan informs the workgroups about the
                                                           validity and reliability of the data sources used for the quality improvement or
                                                           performance improvement initiative.

                                                           2. The outcomes of each quality improvement initiative are monitored by each
                                                           individual workgroup and presented to the DBHDS Quality Improvement
                                                           Committee for oversight and system-level monitoring.

                                                           3. The Quality Management Annual Report and Evaluation describes the
                                                           accomplishments and barriers for each of the workgroups.

       V.D.3.a   Safety and freedom from harm (e.g.,       The actions to achieve compliance listed in Section V.D.3.a-h will also achieve
                 neglect and abuse, injuries, use of       compliance with this provision of the Settlement Agreement.
                 seclusion or restraints, deaths,
                 effectiveness of corrective actions,
                 licensing violations);
       V.D.3.b   Physical, mental, and behavioral          The actions to achieve compliance listed in Section V.D.3.a-h will also achieve
                 health and well being (e.g., access to    compliance with this provision of the Settlement Agreement.
                 medical care (including preventative
                 care), timeliness and adequacy of
                 interventions (particularly in
                 response to changes in status));

       V.D.3.c   Avoiding crises (e.g., use of crisis      The actions to achieve compliance listed in Section V.D.3.a-h will also achieve
                 services, admissions to emergency         compliance with this provision of the Settlement Agreement.
                 rooms or hospitals, admissions to
                 Training Centers or other congregate
                 settings, contact with criminal justice
                 system);

       V.D.3.d   Stability (e.g., maintenance of chosen The actions to achieve compliance listed in Section V.D.3.a-h will also achieve
                 living arrangement, change in          compliance with this provision of the Settlement Agreement.
                 providers, work/other day program
                                                                                                                                     39
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                  stability);

        V.D.3.e   Choice and self-determination (e.g.,    The actions to achieve compliance listed in Section V.D.3.a-h will also achieve
                  service plans developed through         compliance with this provision of the Settlement Agreement.
                  person-centered planning process,
                  choice of services and providers,
                  individualized goals, self-direction of
                  services);

        V.D.3.f   Community inclusion (e.g.,               The actions to achieve compliance listed in Section V.D.3.a-h will also achieve
                  community activities, integrated         compliance with this provision of the Settlement Agreement.
                  work opportunities, integrated living
                  options, educational opportunities,
                  relationships with non-paid
                  individuals);

        V.D.3.g   Access to services (e.g., waitlists,     The actions to achieve compliance listed in Section V.D.3.a-h will also achieve
                  outreach efforts, identified barriers,   compliance with this provision of the Settlement Agreement.
                  service gaps and delays, adaptive
                  equipment, transportation,
                  availability of services
                  geographically, cultural and
                  linguistic competency); and

        V.D.3.h   Provider capacity (e.g., caseloads,      The actions to achieve compliance listed in Section V.D.3.a-h will also achieve
                  training, staff turnover, provider       compliance with this provision of the Settlement Agreement.
                  competency).

38       V.D.4    The Commonwealth shall collect and       The DBHDS Office of Data Quality and Visualization has developed a Data
                  analyze data from available sources,     Quality Monitoring Plan that will guide the improvement of key data sources
                  including, the risk management           and monitor progress over time.
                  system described in V.C. above,
                  those sources described in Sections      The DBHDS Office of Data Quality and Visualization has completed an initial
                  V.E-G and I below (e.g., providers,      assessment of twelve data sources used by DBHDS. This assessment provides
                  case managers, Quality Service           insight into the key attributes of data quality and an overview of each data source
                                                                                                                                       40
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                  Reviews, and licensing), Quality          by containing a description of the content of the data source and explaining how
                  Management Reviews, the crisis            the data is collected, organized, and stored. The initial assessment also notes any
                  system, service and discharge plans       additional concerns raised by data analysts or subject matter experts.
                  from the Training Centers, service
                  plans for individuals receiving           2. The implementation of the recommended improvements that result from the
                  waiver services, Regional Support         data quality process will be monitored by the Office of Data Quality and
                  Teams, and CIMs.                          Visualization on an annual basis.

39       V.D.5    The Commonwealth shall implement          The Commonwealth has established Regional Quality Councils (“RQCs”) in
                  Regional Quality Councils that shall      each region with the membership required by section V.D.5.a. RQCs are
                  be responsible for assessing relevant     responsible for assessing relevant data, identifying trends, and recommending
                  data, identifying trends, and             responsive actions in their respective regions. The RQCs will fully meet those
                  recommending responsive actions in        responsibilities when the requirements of Section V.D.5.b of the Agreement are
                  their respective Regions of the           met.
                  Commonwealth.

40      V.D.5.b   Each council shall meet on a              The Commonwealth will achieve compliance with this provision of the
                  quarterly basis to share regional data,   Settlement Agreement when:
                  trends, and monitoring efforts and
                  plan and recommend regional quality       1. Each RQC meets on a quarterly basis with a quorum of its members
                  improvement initiatives. The work of      participating at each meeting.
                  the Regional Quality Councils shall
                  be directed by a DBHDS quality            2. Quality outcome measures established by DBHDS in consultation with the
                  improvement committee.                    Quality Improvement Committee are provided to each RQC. From these quality
                                                            outcome measures, each RQC identifies two topics for quality initiatives to
                                                            review each year.

                                                            3. Data collected in accordance with Section V.D.4 of the Settlement Agreement
                                                            and relevant to the RQC’s consideration of the two selected topics for quality
                                                            initiatives will be presented to the RQC as requested by the RQC.

                                                            4. Each RQC reviews and assesses the data received to identify trends and
                                                            recommend quality initiatives to address the identified trends. Each quality
                                                            improvement initiative will have at least one measurable outcome.


                                                                                                                                         41
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                                                        5. The recommendations of the RQCs are presented to the DBHDS Quality
                                                        Improvement Committee.

                                                        6. The RQCs report annually to the DBHDS Quality Improvement Committee
                                                        on their region’s progress in meeting the measurable outcomes established for
                                                        each quality initiative.

41       V.D.6   At least annually, the                 The Commonwealth will achieve compliance with this provision of the
                 Commonwealth shall report publicly,    Settlement Agreement when:
                 through new or existing mechanisms,
                 on the availability (including the     The Commonwealth posts reports, updated at least annually, on the DBHDS
                 number of people served in each type   website or that of VirginiaNavigator on the availability and quality of services in
                 of service described in this           the community and gaps in services and makes recommendations for
                 Agreement) and quality of supports     improvement. Reports will include the following information:
                 and services in the community and
                 gaps in services, and shall make          •   Demographics – Individuals served
                 recommendations for improvement.                o Number of individuals by waiver type
                                                                 o Number of individuals by service type
                                                                 o Number of individuals by region
                                                                 o Number of individuals in each training center
                                                                 o Number of individuals on the DD waiver waiting list by priority
                                                                    level and geographic region
                                                                 o Number of children residing in NFs and ICF/IIDs

                                                           •   Demographics – Service capacity
                                                                  o Number of licensed DD providers
                                                                         Residential setting by size and type
                                                                         Day services by type
                                                                         Other ancillary services
                                                                  o Number of ICF/IID non-state operated beds
                                                                  o Semi-annual Provider Data Summary
                                                                  o RST Annual Report
                                                           •   Assessments – Quality
                                                                  o Results of licensing findings resulting from inspections and

                                                                                                                                     42
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#    Provision   Provision text                               Action to Achieve Compliance

                                                                          investigations
                                                                      o Quality Management Annual Report and Evaluation
                                                                      o Data Quality Plan
                                                                      o Annual Mortality Review Report
                                                                      o Case Management Steering Committee Report
                                                                      o Report from the Quality Service Reviews
                                                                      o National Core Indicators
                                                               •   Other reporting:
                                                                      o Updates to the Housing Plan
                                                                      o Updates to Employment/Integrated Day Activities Plan
                                                                      o IFSP outcomes report and updates to IFSP Plan
                                                                      o DBHDS Annual Report

42       V.E.1   The Commonwealth shall require all         The Licensing Regulations now require providers and CSBs to develop and
                 providers (including Training              implement quality improvement programs, including root cause analysis. See 12
                 Centers, CSBs, and other community         VAC 35-105-620 found at http://register.dls.virginia.gov/details.aspx?id=6997.
                 providers) to develop and implement
                 a quality improvement (“QI”)               The DBHDS Office of Licensing monitors compliance with the Licensing
                 program, including root cause              Regulations.
                 analyses, that is sufficient to identify
                 and address significant issues and is      Although not required by the Settlement Agreement, the Commonwealth has or
                 consistent with the requirements of        intends to achieve the following actions:
                 the DBHDS Licensing Regulations at
                 12 VAC 35-105-620 in effect on the         1. DBHDS has made available written guidance for providers on meeting the
                 effective date of this Agreement and       quality improvement requirements of the Licensing Regulations. This guidance
                 the provisions of this Agreement.          will be revised and updated as necessary.

                                                            2. At least 90% of providers cited for violating 12 VAC 35-105-620 have
                                                            developed a corrective action plan.

                                                            3. If 50% or more of DBHDS-licensed providers are cited for not meeting the
                                                            quality improvement requirements of the Licensing Regulations (12 VAC 35-
                                                            105-620), DBHDS will initiate a systemic quality improvement effort designed
                                                            to improve providers’ performance in complying with the Licensing Regulations
                                                            related to quality improvement.
                                                                                                                                      43
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43       V.E.2   Within 12 months of the effective        The Commonwealth has increased required reporting through its Licensing
                 date of this Agreement, the              Regulations to require reporting of serious incidents, which include:
                 Commonwealth shall develop                         a. Serious injuries
                 measures that CSBs and other                       b. Individuals that are missing
                 community providers are required to                c. Emergency room visits
                 report to DBHDS on a regular basis,                d. Unplanned hospitalizations
                 either through their risk                          e. Choking incidents requiring intervention
                 management/critical incident                       f. Ingestion of any hazardous material
                 reporting requirements or through                  g. Diagnosis or increase in severity level of decubitus ulcer
                 their QI program. Reported key                     h. Diagnosis of bowel obstruction
                 indicators shall capture information               i. Diagnosis of aspiration pneumonia
                 regarding both positive and negative
                 outcomes for both health and safety      The Commonwealth will achieve compliance with this provision of the
                 and community integration, and will      Settlement Agreement when:
                 be selected from the relevant
                 domains listed in Section V.D.3.         1. DBHDS uses the data from the required reporting to identify relevant
                 above. The measures will be              performance measures.
                 monitored and reviewed by the
                 DBHDS quality improvement                2. Such performance measures are reviewed by the DBHDS Key Performance
                 committee, with input from Regional      Area workgroups, the DBHDS Risk Management Review Committee and the
                 Quality Councils, described in           DBHDS Quality Improvement Committee to identify opportunities for
                 Section V.D.5 above. The DBHDS           improvement and implement quality improvement initiatives as determined
                 quality improvement committee will       necessary by DBHDS.
                 assess the validity of each measure at
                 least annually and update measures
                 accordingly.

44       V.E.3   The Commonwealth shall use               The Commonwealth will achieve compliance with this provision of the
                 Quality Service Reviews and other        Settlement Agreement when:
                 mechanisms to assess the adequacy
                 of providers’ quality improvement        1.     At least 90% of DBHDS-licensed providers that have been cited for not
                 strategies and shall provide technical   meeting the quality improvement requirements of the Licensing Regulations
                 assistance and other oversight to        have documented corrective actions to address deficiencies in quality
                 providers whose quality                  improvement programs.
                                                                                                                                    44
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                 improvement strategies the                2.      If 50% or more of DBHDS-licensed providers are cited for not meeting
                 Commonwealth determines to be             the quality improvement requirements of the Licensing Regulations (12 VAC
                 inadequate.                               35-105-620), DBHDS will initiate a systemic quality improvement effort
                                                           designed to improve providers’ performance in complying with the Licensing
                                                           Regulations related to quality improvement.
                                                           3.      DBHDS provides technical assistance to providers whose quality
                                                           improvement system the Commonwealth determines to be inadequate and to
                                                           address compliance issues with Licensing Regulations related to quality
                                                           improvement.
                                                           4. Information from Quality Service Reviews are used to improve practice and
                                                           quality of services through the collection of valid and reliable data that informs
                                                           the provider quality performance and identifies system level quality
                                                           improvement initiatives.

45       V.F.2   At these face-to-face meetings, the       The Commonwealth asserts that the actions specified for Section III.C.5.b.i.
                 case manager shall: observe the           should result in the achievement of compliance with this provision of the
                 individual and the individual’s           Settlement Agreement.
                 environment to assess for previously
                 unidentified risks, injuries, needs, or
                 other changes in status; assess the
                 status of previously identified risks,
                 injuries, needs, or other change in
                 status; assess whether the
                 individual’s support plan is being
                 implemented appropriately and
                 remains appropriate for the
                 individual; and ascertain whether
                 supports and services are being
                 implemented consistent with the
                 individual’s strengths and
                 preferences and in the most
                 integrated setting appropriate to the
                 individual’s needs. If any of these
                 observations or assessments
                 identifies an unidentified or
                                                                                                                                        45
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                 inadequately addressed risk, injury,
                 need, or change in status; a
                 deficiency in the individual’s support
                 plan or its implementation; or a
                 discrepancy between the
                 implementation of supports and
                 services and the individual’s
                 strengths and preferences, then the
                 case manager shall report and
                 document the issue, convene the
                 individual’s service planning team to
                 address it, and document its
                 resolution.

46       V.F.4   Within 12 months from the effective      The Commonwealth will achieve compliance with this provision of the
                 date of this Agreement, the              Settlement Agreement when:
                 Commonwealth shall establish a
                 mechanism to collect reliable data       1. DBHDS collects data on the number, type, and frequency of case management
                 from the case managers on the            contacts.
                 number, type, and frequency of case
                 manager contacts with the individual.    2. DBHDS reviews a sample of the collected data on the number, type, and
                                                          frequency of case management contacts to determine reliability. DBHDS
                                                          provides technical assistance to CSBs with respect to the review and submission
                                                          of this data as determined necessary by DBHDS.

                                                          Although not required by this provision of the Settlement Agreement, the data
                                                          regarding the number, type, and frequency of case management contacts will be
                                                          included in the Case Management Steering Committee data review.
                                                          Recommendations of the Case Management Steering Committee to address
                                                          noncompliance related to case manager contacts will be provided to the DBHDS
                                                          Quality Improvement Committee for consideration of quality improvement
                                                          initiatives and to the DBHDS Commissioner for review of CSB Performance
                                                          Contract issues.

47       V.F.5   Within 24 months from the date of        The Commonwealth asserts that the actions specified for Sections III.C.5.b.i. and
                                                                                                                                     46
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                 this Agreement, key indicators from      V.D.3 should achieve compliance with this provision of the Settlement
                 the case manager’s face-to-face visits   Agreement.
                 with the individual, and the case
                 manager’s observation and
                 assessments, shall be reported to the
                 Commonwealth for its review and
                 assessment of data. Reported key
                 indicators shall capture information
                 regarding both positive and negative
                 outcomes for both health and safety
                 and community integration and will
                 be selected from the relevant
                 domains listed in V.D.3.

48       V.G.3   Within 12 months of the effective        The Commonwealthwill achieve compliance with this provision of the
                 date of this Agreement, the              Settlement Agreement when:
                 Commonwealth shall ensure that the
                 licensure process assesses the           1. The DBHDS Office of Licensing develops a checklist to assess the adequacy
                 adequacy of the individualized           of individualized supports and services in each of the domains listed in Section
                 supports and services provided to        V.D.3 and uses the checklist in its inspections and investigations.
                 persons receiving services under this
                 Agreement in each of the domains         2. The DBHDS Office of Licensing will produce a report from the data obtained
                 listed in Section V.D.3 above and        from the checklist. This data will be shared with the Case Management Steering
                 that these data and assessments are      Committee and relevant Key Performance Area workgroups who will evaluate
                 reported to DBHDS.                       this data along with other data sources to determine whether quality
                                                          improvement initiatives are needed.

49       V.H.1   The Commonwealth shall have a            The Commonwealth asserts that it is compliant with this provision of the
                 statewide core competency-based          Settlement Agreement.
                 training curriculum for all staff who
                 provide services under this              1. DBHDS has a core competency-based training curriculum that meets the
                 Agreement. The training shall            required elements of this provision of the Settlement Agreement, found at
                 include person-centered practices,       https://partnership.vcu.edu/DSP_orientation/index.html.
                 community integration and self-
                 determination awareness, and             2. The Commonwealth has established training, testing, and observational
                                                                                                                                     47
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                required elements of service training.   requirements of core competencies for direct support professionals (“DSPs”) and
                                                         their supervisors through its DD Waivers that are measurable and at minimum
                                                         include competencies in:

                                                         •        the characteristics of developmental disabilities and Virginia’s DD
                                                         Waivers;
                                                         •        person-centeredness (and related practices such as dignity of risk and
                                                         self-determination in alignment with CMS definitions);
                                                         •        positive behavioral supports;
                                                         •        effective communication;
                                                         •        DBHDS-identified health risks and the appropriate interventions (i.e.,
                                                         skin care (pressure sores; skin breakdown), aspiration pneumonia, falls, urinary
                                                         tract infections, dehydration, constipation and bowel obstruction, sepsis, and
                                                         seizures); and
                                                         •        best practices in the support of individuals with developmental
                                                         disabilities (e.g. community integration, building and maintaining positive
                                                         relationships, being active and productive in society, empowerment, advocacy,
                                                         rights and choice, safety in the home and community).

                                                         DBHDS Licensing Regulations also require that providers develop a training
                                                         policy that addresses the frequency of retraining on serious incident reporting,
                                                         medication administration, behavior intervention, emergency preparedness, and
                                                         infection control, to include flu epidemics. These regulations further require that
                                                         employees or contractors who are responsible for implementing the ISP
                                                         demonstrate a working knowledge of the objectives and strategies contained in
                                                         each individual's current ISP and that licensed providers provide training and
                                                         development opportunities for employees to enable them to support the
                                                         individuals receiving services and to carry out the their job responsibilities.

                                                         3. The Commonwealth requires through its DD Waivers that DSPs and their
                                                         supervisors meet training requirements and pass a knowledge-based test with
                                                         80% success prior to providing reimbursable services in the absence of another
                                                         staff person who has passed the test.

                                                         4. The Commonwealth requires through its DD Waivers that DSPs and their
                                                                                                                                      48
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                                                      supervisors meet observable competencies including:
                                                      •       demonstrating person-centered skills, values, and attributes;
                                                      •       understanding and following service requirements; and
                                                      •       demonstrating abilities that improve or maintain the health and wellness
                                                      of those they support.

                                                      5. Providers that are cited for having staff qualification violations are required to
                                                      submit and complete corrective action plans.

                                                      6. Consistent with CMS assurances, DBHDS, in conjunction with DMAS
                                                      Quality Management Review staff, reviews citations (including those related to
                                                      staff qualifications) and makes results available to providers through quarterly
                                                      provider roundtables.

                                                      Despite the Commonwealth’s assertion of compliance, if a measure is needed for
                                                      this provision of the Settlement Agreement, the Commonwealth recommends the
                                                      following:

                                                      The Commonwealth will be considered to be in compliance with this provision
                                                      of the Agreement when no more than 14% of providers reviewed through the
                                                      DMAS Quality Management Review Process are cited for violating staff
                                                      qualification requirements within the DMAS DD Waivers.

50       V.H.2   The Commonwealth shall ensure that   The Commonwealth asserts that it is compliant with this provision of the
                 the statewide training program       Settlement Agreement.
                 includes adequate coaching and
                 supervision of staff trainees.       1. The Commonwealth requires through its DD Waivers that, in addition to
                 Coaches and supervisors must have    receiving training and passing the knowledge-based test, supervisors of DSPs
                 demonstrated competency in           complete training specific to core competency requirements, which is offered by
                 providing the service they are       DBHDS, that includes instruction on completing an observational-based process
                 coaching and supervising.            to document that DSPs meet competencies as established by DBHDS. The
                                                      Commonwealth requires through its DD Waivers that observation of DSP
                                                      competencies is documented by the supervisor within 180 days of hire. The
                                                      Commonwealth requires through its DD Waivers that supervisors meet these
                                                      same competencies, and additional competencies pertinent to their role, which
                                                                                                                                     49
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                                               are observed and documented by the agency director or designee.

                                               Supervisors must:
                                                  • Complete a training that describes the requirements of a supervisor in
                                                      meeting orientation and training requirements
                                                  • Pass a knowledge-based test online with at least 80% success
                                                  • Sign an assurance that they understand and meet requirements
                                                  • Receive training in:
                                                      1. The characteristics of developmental disabilities and Virginia's DD
                                                                 waivers;
                                                      2. Person-centeredness, positive behavioral supports, effective
                                                                 communication;
                                                      3. DBHDS-identified health risks of developmental disabilities and the
                                                                 appropriate interventions developmental disabilities; and
                                                                 4. Best practices in the support of individuals with
                                                                 developmental disabilities.
                                                  • Discuss the above training topics with all DSPs and confirm their
                                                      understanding
                                                  • Explain to DSPs how training fits with the organization
                                                  • Serve as a model for DSPs by demonstrating person-centered skills,
                                                      values and attitudes
                                                  • Serve as a model for Direct Support Professionals by demonstrating
                                                      respectful communication with individuals and others
                                                  • Work with DSPs, behavioral consultants and others as needed to enhance
                                                      the provision of positive behavioral supports
                                                  • Provide guidance to DSPs upon identifying deficiencies in
                                                      documentation
                                                  • Answer questions and provide guidance to DSPs on individual Plans for
                                                      Supports and methods of documenting the supports provided
                                                  • Communicate the expectations and responsibilities to the DSPs they
                                                      supervise
                                                  • Answer questions and provide guidance to DSPs on individual ISPs and

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                                                                   methods of documenting the supports provided
                                                               •   Provide written guidance to DSPs on identifying individual-specific
                                                                   changes that may indicate the need for an emergency response
                                                               •   Provide guidance to DSPs on identifying individual-specific changes that
                                                                   may indicate the need for an emergency response

                                                            Despite the Commonwealth’s assertion of compliance, if an indicator is needed
                                                            for this provision of the Settlement Agreement, the Commonwealth recommends
                                                            the following:

                                                            The Commonwealth will be considered to be in compliance with this provision
                                                            of the Agreement when no more than 14% of providers reviewed through the
                                                            DMAS Quality Management Review Process are cited for violating staff
                                                            qualification requirements within the DMAS DD Waivers.

51     V.I.1.a-b   The Commonwealth shall use               The Commonwealth conducts Quality Service Reviews (“QSRs”) annually on a
                   Quality Service Reviews (“QSRs”)         statistically valid sample of people receiving services. The Commonwealth
                   to evaluate the quality of services at   asserts that it will achieve compliance with this provision of the Settlement
                   an individual, provider, and system-     Agreement when:
                   wide level and the extent to which
                   services are provided in the most        1. QSRs utilize information collected from, at a minimum, the following sources
                   integrated setting appropriate to        for individual service-recipient level reviews:
                   individuals’ needs and choice. QSRs              • Interviews of individual waiver service recipients, family members or
                   shall collect information through:               guardians (if involved in the individual’s life), case managers, and
                    a.    Face-to-face interviews of the            service providers.
                          individual, relevant                      • The following records are reviewed: case management, the ISP, the
                          professional staff, and other             provider’s record, and incident reports.
                          people involved in the                    • Direct observation of the individual waiver service recipient occurs at
                          individual’s life; and                    each of their service sites (e.g., Residential and/or Day Programs)
                    b.    Assessment, informed by
                          face-to-face interviews, of
                          treatment records,
                          incident/injury data, key-
                          indicator performance data,

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                       compliance with the service
                       requirements of this
                       Agreement, and the
                       contractual compliance of
                       community services boards
                       and/or community providers.

52       V.I.2   QSRs shall evaluate whether             The Commonwealth will achieve compliance with this provision of the
                 individuals’ needs are being            Settlement Agreement when:
                 identified and met through person-
                 centered planning and thinking          1. The QSRs assess on an individual service-recipient level and individual
                 (including building on individuals’     provider level whether:
                 strengths, preferences, and goals),              a. Individuals’ needs are identified and met, including health and safety.
                 whether services are being provided              b. Person-centered thinking and planning is applied and people are
                 in the most integrated setting                   supported in self-direction, in accordance with their person-centered
                 appropriate to the individuals’ needs            plan.
                 and consistent with their informed               c. Services are responsive to changes in individual needs (where present)
                 choice, and whether individuals are              and service plans are modified in response to new or changed service
                 having opportunities for integration             needs.
                 in all aspects of their lives (e.g.,             d. Services and supports are provided in the most integrated setting
                 living arrangements, work and other              appropriate to individuals’ needs and consistent with their informed
                 day activities, access to community              choice.
                 services and activities, and                     e. Individuals have opportunities for community engagement and
                 opportunities for relationships with             inclusion in all aspects of their lives.
                 non-paid individuals). Information               f. Any restrictions on individuals’ rights are in approved plans and
                 from the QSRs shall be used to                   constitute the minimum necessary restrictions to ensure safety of the
                 improve practice and the quality of              individual and others.
                 services on the provider, CSB, and      2. Information from the QSRs are used to improve practice and quality of
                 system wide levels.                     services through the collection of valid and reliable data that informs the
                                                         provider quality performance and identifies system level quality improvement
                                                         initiatives.

53       V.I.3   The Commonwealth shall ensure           The Commonwealth will achieve compliance with this provision of the
                 those conducting QSRs are               Settlement Agreement when:
                 adequately trained and a reasonable
                                                                                                                                     52
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#    Provision   Provision text                            Action to Achieve Compliance

                 sample of look-behind QSRs are          1. QSR tools will include definitions of standards and items being measured;
                 completed to validate the reliability   clear definition of methodology for conducting reviews, e.g., questions asked
                 of the QSR process.                     and location of data/records; and specific criteria for compliance with each item.
                                                         2. The QSR process will include a measurement of inter-rater reliability to
                                                         provide valid and reliable data to DBHDS for review and assessment of service
                                                         quality. Reviewers who do not meet DBHDS-established performance
                                                         thresholds will be required to complete re-training. Measures that have low inter-
                                                         rater reliability will be reviewed by DBHDS. DBHDS will modify
                                                         measures/associated guidelines to address reliability issues.
                                                         3. QSR processes indicate inter-rater reliability of reviewers is at least 80%.
                                                         4. QSRs of a statistically significant sample of individuals receiving services are
                                                         conducted annually.

54       IX.C    The Commonwealth shall maintain         In order to maintain sufficient records to document its compliance with the
                 sufficient records to document that     Settlement Agreement, the Commonwealth will maintain a written index that
                 the requirements of this Agreement      identifies the records sufficient to document that the requirements of the
                 are being properly implemented and      Settlement Agreement are being implemented and the entities responsible for
                 shall make such records available to    monitoring and ensuring that the records are made available (“Record Index”).
                 the Independent Reviewer for
                 inspection and copying upon request     The Record Index will specify the following components for each record source:
                 and on a reasonable basis.                 • Identification and documentation of record locations;
                                                            • Timeframe for collecting and updating records as specified
                                                               in the Settlement Agreement or as determined by DBHDS;
                                                            • Identification of a custodian of the records who is responsible for
                                                               oversight of the collection, storage, and updates; and
                                                            • A process to monitor/audit record completion.

                                                         Records will be maintained in accordance with applicable Library of Virginia
                                                         Records Retention and Disposition Schedules or longer, as necessary to
                                                         demonstrate compliance with the Settlement Agreement.




                                                                                                                                     53
